                                                                               DISTRICT OF OREGON
                                                                                    FILED
                                                                                 September 19, 2018
                                                                            Clerk, U.S. Bankruptcy Court



        Below is an Order of the Court.




                                                              _______________________________________
                                                                        PETER C. McKITTRICK
                                                                        U.S. Bankruptcy Judge




                               IN THE UNITED STATES BANKRUPTCY COURT

                                     FOR THE DISTRICT OF OREGON

       In re                                          Bankruptcy Case Nos.

       Sunshine Dairy Foods Management, LLC           18-31644-pcm11 (Lead Case)
       and                                            18-31646-pcm11
       Karamanos Holdings, Inc.
                                                      ORDER GRANTING DEBTORS' (1)
                                                      MOTION FOR AUTHORITY TO SELL
                     Debtors-in-Possession.           PROPERTY FREE AND CLEAR OF
                                                      LIENS AND (2) MOTION TO ASSUME
                                                      AND ASSIGN EXECUTORY
                                                      CONTRACTS AND DETERMINE
                                                      CURE AMOUNTS

               THIS MATTER came before the Court for hearing on Debtors’ Notice of Intent to Sell

      Property, Compensate Broker, and/or Pay any Secured Creditor’s Fees and Costs; Motion

      for Authority to Sell Property Free and Clear of Liens; and Notice of Hearing (Dkt. No. 399)

      (the “Sale Motion”); Motion to Assume and Assign Executory Contracts and Determine Cure

      Amounts (Dkt No. 418) and Notice of Intent to Assume and Assign Executory Contracts and

      Determine Cure Amounts; Notice of Hearing Thereon (Dkt No. 401) (the “Assumption

      Motion”). Because of the interrelated relief requested in each motion, the Sale Motion and

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                                                                                                Attorneys at Law
                PROPERTY FREE AND CLEAR OF LIENS AND (2) MOTION TO ASSUME             319 SW Washington Street, Suite 520
                                                                                         Portland, Oregon 97204-2690
                AND ASSIGN EXECUTORY CONTRACTS AND DETERMINE CURE                               (503) 241-4869
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      the Assumption Motion are collectively referred to herein as the “Motion.” Pursuant to that

      certain Order Approving Bidding Procedures, Overbid Protection and Break-Up Fee, and

      Form and Manner of Notice of Sale (Dkt No. 425) (the “Procedures Order”), entered on

      August 28, 2018, this Court established Bidding Procedures (Dkt No. 429) regarding the

      sale of Debtors’ East Plant assets, scheduled a time for an auction in the event upset bids

      were received, set a deadline for the filing of objections regarding the Motion, and

      scheduled a hearing to consider the Motion (the “Sale Hearing”). This Court having held the

      Sale Hearing on September 17, 2018 and having reviewed the Motion, considered the files

      and records in these cases, and now being fully advised,

               THE COURT FINDS THAT: 1

               A.       This Court has jurisdiction over the Motion under 28 U.S.C. §§ 157 and 1334,

      and this matter is a core proceeding under 28 U.S.C. § 157(b)(2)(A) and (N). Venue of these

      cases and the Motion in this District is proper under 28 U.S.C. §§ 1408 and 1409.

               B.       The statutory predicates for the relief sought in the Motion are §§ 105(a), 363

      and 365 of Title 11 of the United States Code (the "Bankruptcy Code"), and Rules 6004,

      6006 and 7062 of the Federal Rules of Bankruptcy Procedure (the "Bankruptcy Rules").

               C.       On or about August 10, 2018, Debtors and Lyrical Foods, Inc. (“Purchaser” or

      “Lyrical”) entered into that certain Asset Purchase Agreement dated as of August 10, 2018

      (as amended or modified from time to time, the "APA"), pursuant to which Purchaser agreed

      to purchase certain of Debtors' real property along with tangible and intangible personal

      property, including the assumption and assignment of the Assumed Executory Contracts (as

      defined in the APA and indicated on Exhibit B to the APA, as amended or modified from


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       Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as findings of fact
      when appropriate.
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      time to time)2 subject to certain exclusions as set forth in the APA (the "Acquired Assets")

      for an initial purchase price of $5,600,000 (subject to adjustment as set forth in the APA, the

      " Purchase Price"), subject to certain conditions set forth in the APA (the "Sale"). A copy of

      the APA is attached as Exhibit A.

               D.      The Court entered the Procedures Order on August 28, 2018 and the

      Procedures Order remains in full force and effect.

               E.      As evidenced by the certificates of service, filed with this Court (the

      “Certificates of Service”), and based on representations of counsel at the Sale Hearing, due,

      proper, timely, adequate and sufficient notice of the Joint Motion for Approval of Bidding

      Procedures, Overbid Protection and Break-Up Fee, and Form and Manner of Notice of Sale

      (Dkt No. 377) (the “Bid Procedures Motion”), the hearing held on August 24, 2018 regarding

      the Bid Procedures Motion (the “Bid Procedures Hearing”), the Procedures Order, the

      Bidding Procedures, the Motion, the Sale Hearing, the APA, the Sale and the transactions

      contemplated thereby, including without limitation the assumption and assignment of the

      Assumed Executory Contracts, has been provided in compliance with the Procedures Order

      and in compliance with the various applicable requirements of the Bankruptcy Code, Rules

      2002, 6004, 6006 and 9014 of the Federal Rules of Bankruptcy Procedure, the Local Rules

      of Bankruptcy Procedure for the U.S. Bankruptcy Court for the District of Oregon, and the

      procedural due process requirements of the United States Constitution. Such requirements

      were satisfied by: (i) service of the “Notice of Intent to Sell Property, Compensate Broker,



      2
       For the avoidance of doubt, the term “Assumed Executory Contracts” as used herein shall include all Contracts and
      Additional Contracts (each as defined in the Assumption Motion) indicated on Exhibit B to the APA (as amended or
      modified from time to time), except for any such Additional Contracts indicated on Exhibit B for which both (a) the
      Additional Contract Objection Deadline (as defined in the Assumption Motion) has not expired, and (b) the counterparty
      has not consented.
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      and/or Pay any Secured Creditor’s Fees and Costs; Motion for Authority to Sell Property

      Free and Clear of Liens; and Notice of Hearing” on debtors, the U.S. Trustee, each named

      lien holder at the address listed in the Notice of Intent to Sell, the Chairperson of the Official

      Committee of Unsecured Creditors (the “Committee”), their respective attorneys, all

      creditors and parties requesting special notice as listed in the Court’s records that were

      obtained on August 21, 2018 ("Notice Date") and others who might have potential claims

      against the Debtor, (Dkt No. 399); (ii) service of the “Certificate of Service of Order

      Approving Bidding Procedures, Overbid Protection and Break-Up Fee, and Form and

      Manner of Notice of Sale” on the “List of Interested Parties” attached thereto (Dkt No. 431);

      and (iii) service of the “Notice of Bidding Procedures” (Dkt. Nos. 429, 435); (iv) service of the

      “Motion to Assume and Reject Executory Contracts” (Dkt No. 418),the “Notice of Intent to

      Assume and Reject Executory Contracts and Notice of Hearing Thereon” (Dkt No. 401), and

      any notices served with respect to any Additional Contracts (as defined in the Assumption

      Motion) (the “Additional Contracts Notices”) on all parties to the applicable contracts,

      Debtors, U.S. Trustee, the Committee members, and their respective attorneys, plus those

      parties served with the Sale Motion. Such notice was good, sufficient and appropriate

      under the circumstances and no other or further notice of the Sale Motion and Notice, the

      Assumption Motion, Notice of Intent to Assume and Reject Executory Contracts, Additional

      Contracts Notices, or the transactions contemplated thereby (including, without limitation,

      the assumption and assignments of the Assumed Executory Contracts), is or shall be

      required.

               F.      A reasonable opportunity to bid, to object and to be heard regarding the relief

      requested in the Motion has been afforded to all creditors, parties in interest, and other


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      entities, including, but not limited to (a) all creditors, (b) all parties who claim interests in or

      liens upon the Acquired Assets, (c) all parties to the Assumed Executory Contracts, (d) all

      parties who have filed notices of appearance in these cases, (e) the Office of the United

      States Trustee, (f) counsel to the Committee, and (g) all known potential bidders.

               G.      Certain parties have consented to the Sale and to the assumption and

      assignment of the Assumed Executory Contracts. Such parties’ consent shall not be

      deemed an admission or indication that such consent is or was required, and the provisions

      of this Order shall be applicable to all parties, irrespective of whether they have consented

      to the relief authorized and directed herein.

               H.      Debtors may sell the Acquired Assets free and clear of all Interests (defined

      below) because either each entity with a security interest in any Acquired Assets to be

      transferred on the Closing Date (as defined in the APA), including the Assumed Executory

      Contracts either: (a) has consented to the Sale (including the assumption and assignment of

      the Assumed Executory Contracts) or is deemed to have consented to the Sale; (b) could

      be compelled in a legal or equitable proceeding to accept money satisfaction of such

      Interest; or (c) otherwise falls within the provisions of §363(f) of the Bankruptcy Code, and

      therefore, in each case, one or more of the standards set forth in §363(f)(1)-(5) of the

      Bankruptcy Code has been satisfied. No other notice is or was required in connection with

      the Bid Procedures Motion, the Bid Procedures Hearing, the Procedures Order, the Bidding

      Procedures, the Motion, the Sale Hearing, the APA, the Sale and the transactions

      contemplated thereby. Those holders of Interests who have been properly noticed and who

      did not object to the Motion are deemed to have consented pursuant to §363(f)(2) of the

      Bankruptcy Code.


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                                                                                                      Attorneys at Law
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               I.      Good and sufficient reasons for approval of the APA and the Sale have been

      articulated. The relief requested in the Motion is in the best interests of Debtors, their

      estates, their creditors and other parties in interest.

               J.      Debtors have demonstrated both (a) good, sufficient and sound business

      purpose and justification and (b) compelling circumstances for the Sale other than in the

      ordinary course of business, pursuant to §363(b) of the Bankruptcy Code, in that, among

      other things, the immediate consummation of the Sale to Purchaser is necessary and

      appropriate to maximize the value of Debtors’ estates; that the Debtors lack sufficient cash

      or financing to continue operating; the Sale will provide the means for Debtors to maximize

      distributions to creditors; and absent consummation of the Sale, Debtors may be forced to

      conduct a piecemeal liquidation of the Acquired Assets, which is likely to yield substantially

      less proceeds available to distribute to creditors than the Sale.

               K.      Purchaser negotiated, executed, delivered, and performed under the APA in

      good faith, and will purchase the Acquired Assets and take assignment of the Assumed

      Executory Contracts in good faith, and Purchaser therefore is a good faith purchaser under

      §363(m) of the Bankruptcy Code. As such, Purchaser is entitled to all of the protections

      afforded a good faith purchaser with respect to the transactions contemplated by the APA.

               L.      Debtors have the power and authority to execute the APA, and all other

      documents contemplated thereby, and to consummate the transactions contemplated by the

      APA. The APA and all of the transactions contemplated thereby have been duly and validly

      authorized by all necessary actions of Debtors. No consents or approvals other than the

      authorization and approval of this Court are required for Debtors to consummate the Sale.

               M.      The APA was negotiated, proposed and entered into by Debtors and


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      Purchaser without collusion, in good faith and from arms'-length bargaining positions.

      Purchaser is not an "insider" of Debtors, or either of them, as that term is defined in

      §101(31) of the Bankruptcy Code. Neither Debtors nor Purchaser has engaged in any

      conduct that would cause or permit the Sale or any aspect thereof to be avoided under

      §363(n) of the Bankruptcy Code.

               N.      As determined by the Court on September 17, 2018, Lyrical submitted the

      highest and best qualified bid for the Acquired Assets, as reflected in the APA. No other

      bids were received for the Acquired Assets on or before the Bid Deadline (as defined in the

      Bidding Procedures).

               O.      Purchaser has provided Debtors with a cash deposit of $560,000.00 (five

      hundred sixty thousand dollars) and has adequately demonstrated its unconditional financial

      wherewithal to pay the Purchase Price and to consummate the Sale.

               P.      The consideration to be provided by Purchaser pursuant to the APA: (a) is fair

      and reasonable; (b) is the highest and best offer for the Acquired Assets provided in

      accordance with the Procedures Order; and (c) constitutes reasonably equivalent value and

      fair consideration under the Bankruptcy Code and applicable state law.

               Q.      The APA was not entered into for the purpose of hindering, delaying or

      defrauding creditors under the Bankruptcy Code and applicable state law.

               R.      The transfer of the Debtors’ right, title and interest in the Acquired Assets to

      the Purchaser will be a legal, valid, enforceable, and effective transfer of the Acquired

      Assets, including the Assumed Executory Contracts, and, except for the Assumed Liabilities

      (as defined in the APA) and Permitted Encumbrances (as defined in the APA), will vest the

      Buyer with all of the Debtors’ right, title and interest of, in and to the Acquired Assets, free


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      and clear of (i) all claims (as defined in § 101(5) of the Bankruptcy Code), liens,

      encumbrances, and interests (as used in § 363(f) of the Bankruptcy Code), whether arising

      prior to or as a consequence of or subsequent to the commencement of the Debtors’

      chapter 11 cases, whether arising in connection with the transactions authorized by this

      Order, whether imposed by agreement, understanding, law, equity or otherwise, whether

      secured or unsecured, known or unknown, choate or inchoate, filed or unfiled, scheduled or

      unscheduled, noticed or unnoticed, recorded or unrecorded, perfected or unperfected,

      allowed or disallowed, contingent or non-contingent, liquidated or unliquidated, matured or

      un-matured, material or non-material, disputed or undisputed, and (ii) all Excluded Liabilities

      (all of (i) and (ii) collectively, the “Interests” 3).

               S.      Debtors have demonstrated that assuming and assigning the Assumed

      Executory Contracts in connection with the Sale is an exercise of their sound business

      judgment, and that such assumption and assignment is in the best interests of Debtors'

      estates.

               T.      Except as otherwise provided in Exhibit B to this Order, the amounts set forth

      on Exhibit A to the Assumption Motion (with respect to any Contract that is an Assumed

      Executory Contract) and the applicable Additional Contracts Notice (with respect to any

      Additional Contract that is an Assumed Executory Contract) are the sole amounts

      necessary to be paid pursuant to § 365 of the Bankruptcy Code in order to cure any

      breaches and defaults in accordance with §§ 365(b) and 365(f)(2) of the Bankruptcy Code

      or to provide any adequate assurance of future performance required under § 365(b)(1)(C)



      3
       Interests to attach to Debtor's interest in the proceeds of the Sale (the "Sale Proceeds") in order of priority,
      subject to any rights, claims and defenses of Debtor or objections of other interested parties with respect
      thereto and subject to the remaining provisions of this Order.
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      of the Bankruptcy Code and assume and assign such Assumed Executory Contract to the

      Purchaser (the “Cure Amounts”).

               U.      As of the Closing Date, subject only to the payment of the Cure Amounts,

      each Assumed Executory Contract will be in full force and effect and enforceable against

      the non-Debtor party thereto in accordance with its terms, and no claim of any non-Debtor

      party thereto relating to any period prior to the Closing Date may be asserted or enforced

      against Purchaser.

               V.      On or before the Closing Date, Debtors or Purchaser will pay in full all Cure

      Amounts, as provided in the APA.

               W.      Debtors have, to the extent necessary, satisfied the requirements of §§

      365(b)(1) and 365(f) of the Bankruptcy Code in connection with the Sale and the

      assumption of the Assumed Executory Contracts and shall, upon assignment thereof on the

      Closing Date and payment of all Cure Amounts, be relieved from any breach thereof and

      any liability or obligation for any such breach thereof.

               THEREFORE, IT IS HEREBY ORDERED:

               1.      The Motion is GRANTED. All relief granted by the Procedures Order is hereby

      incorporated by reference to this Order and remains in full force and effect.

               2.      Any objections to the entry of this Order or the relief granted herein and

      requested in the Motion that have not been withdrawn, waived or settled, and all

      reservations of rights included therein, hereby are denied and overruled on the merits with

      prejudice.

               3.      The terms and conditions of the APA are hereby approved in all respects.

      Pursuant to the provisions of §§105, 363 and 365 of the Bankruptcy Code, Debtors are


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     hereby authorized and directed to sell the Acquired Assets described in the APA to

     Purchaser and to assume and assign the Assumed Executory Contracts to Purchaser, free

     and clear of all Interests, except the Assumed Liabilities and Permitted Encumbrances.

              4.      Debtors are authorized and directed to execute and deliver, and empowered

     and directed to fully perform under, consummate and implement, the APA, together with all

     additional instruments and documents that may be reasonably necessary or desirable to

     implement the APA, and to take all further action as may be requested by Purchaser for the

     purpose of assigning, transferring, granting, conveying and conferring to Purchaser, or

     reducing to Purchaser's possession, any or all of the Acquired Assets, or as otherwise may

     be necessary or appropriate to the performance of the obligations as contemplated by the

     APA.

              5.      The Acquired Assets shall be transferred to Purchaser and, as of the Closing

     Date, shall be free and clear of all Interests, with the exception of the Assumed Liabilities

     and the Permitted Encumbrances. All Interests, with the exception of the Assumed Liabilities

     and the Permitted Encumbrances, shall attach to the Sale Proceeds to the same extent,

     priority and validity as they attached to the Acquired Assets, subject to any rights, claims

     and defenses Debtors may possess with respect thereto. At closing, the Sale Proceeds,

     after payment of all necessary closing costs, including title and escrow fees, recording fees,

     and fees attributable to this sale payable to the United States Trustee under 28 U.S.C. §

     1930, shall be paid to the Debtors’ estates, and will be held by the Debtors for distribution

     upon further order of the Court.

              6.      Multnomah County filed a limited objection to the Sale [Dkt No. 441] (the

     “Multnomah Objection”) with respect to liens asserted by it on all or a portion of the Acquired


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     Assets (the “Multnomah Liens”) to secure tax obligations owing by the Debtors (the

     “Multnomah Taxes”). The Multnomah Liens shall attach to the Sale Proceeds to the same

     extent, priority and validity as they attached to the Acquired Assets, subject to any rights,

     claims and defenses Debtors may possess with respect thereto. For the avoidance of

     doubt, the Acquired Assets shall be transferred to the Purchaser on the Closing Date free

     and clear of the Multnomah Liens, and Purchaser shall have no liability or obligation with

     respect to the Multnomah Taxes. The Multnomah Objection is resolved as set forth herein.

              7.      On September 7, 2018, Electric, Inc. filed two notices of continuation,

     maintenance, perfection, and enforcement of construction lien claim [Dkt Nos. 442, 443]

     with respect to liens asserted by it on the Acquired Property (the “Electric Liens”). The

     Electric Liens shall attach to the Sale Proceeds to the same extent, priority and validity as

     they attached to the Acquired Assets, subject to any rights, claims and defenses Debtors

     may possess with respect thereto. For the avoidance of doubt, the Acquired Assets shall be

     transferred to the Purchaser on the Closing Date free and clear of the Electric Liens, and

     Purchaser shall have no liability or obligation to Electric, Inc.

              8.      For the avoidance of doubt, the Acquired Assets shall include the following

     assets: (a) two 2014 Toyota Pallet Trucks, Model #7HBW23-54655 and 54656, (b) two 2014

     Toyota Pallet Trucks, Model #7HBW23-54342 and 54350, (c) one 2014 Toyota Pallet Truck,

     Model #7HBW23-53677 (collectively, the “Toyota Equipment”). Any liens on the Toyota

     Equipment shall attach to the Sale Proceeds to the same extent, priority and validity as they

     attached to the Toyota Equipment, subject to any rights, claims and defenses Debtors may

     possess with respect thereto. For the avoidance of doubt, the Toyota Equipment shall be




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                                                                                                 Attorneys at Law
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     transferred to the Purchaser on the Closing Date free and clear of all Interests, and

     Purchaser shall have no liability or obligation with respect to the Toyota Equipment.

              9.      Purchaser shall have no liability or responsibility for any liability or other

     obligation of Debtors arising under or related to the Acquired Assets other than as expressly

     set forth in the APA. Notwithstanding the foregoing, Debtors and Purchaser have

     determined that, in order for the condition set forth in Section 8.3(e) of the APA to be

     satisfied, Purchaser will honor vacation and sick time accrued as of the Closing Date for the

     Key Employees and Other Employees (each as defined in the APA) that accept employment

     with Purchaser as of the Closing Date (the “Employee Benefit Liabilities”). The Employee

     Benefit Liabilities shall be deemed to constitute Assumed Liabilities under the APA. To

     accommodate Purchaser’s assumption of the Employee Benefit Liabilities, a portion of the

     Purchase Price equal to the Employee Benefit Liabilities will be refunded to Purchaser on

     the Closing Date, to be effected through an adjustment of the net Purchase Price payable to

     the Debtors, under the same mechanics set forth in Section 4.5 of the APA.

              10.     Purchaser shall not be deemed, as a result of any action taken in connection

     with the APA, to: (a) be the successor of Debtors or either of them; (b) have, de facto or

     otherwise, merged with or into Debtors or either of them; (c) be a mere continuation or

     substantial continuation of Debtors or the enterprise of Debtors; or (d) be responsible for

     any liability of Debtors or for payment of any benefit accruing to Debtors. Purchaser shall

     take the Acquired Assets free and clear of any claim of successor liability.

              11.     Neither Purchaser nor its affiliates, successors or assigns is acquiring or

     assuming any liability, warranty or other obligation of Debtors, including, without limitation,

     any tax incurred but unpaid by Debtors prior to the Closing Date, including, but not limited


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     to, any tax, any fine or penalty relating to a tax, or any addition to tax, whether or not

     previously assessed, fixed or audited, whether or not paid, and whether or not contested

     before and adjudicated by a judicial or administrative tribunal of competent jurisdiction,

     except as otherwise expressly provided in the APA.

              12.     The transfer of the Acquired Assets to Purchaser pursuant to the APA

     constitutes a legal, valid and effective transfer of the Acquired Assets, and shall vest

     Purchaser with all right, title and interest of Debtors in and to the Acquired Assets free and

     clear of all Interests (other than Assumed Liabilities and Permitted Encumbrances) of any

     kind or nature whatsoever.

              13.       On the Closing Date, this Order shall be construed and shall constitute for

     any and all purposes a full and complete general assignment, conveyance and transfer of

     the Acquired Assets or a bill of sale transferring good and marketable title in the Acquired

     Assets to Purchaser. Each and every federal, state and local governmental agency or

     department is hereby directed to accept any and all documents and instruments necessary

     and appropriate to consummate the transactions contemplated by the APA.

              14.     This Order is and shall be effective as a determination that, all liens shall be,

     and are, without further action by any person or entity, released with respect to the Acquired

     Assets as of the Closing Date.

              15.     Daniel J. Boverman, Debtors’ Chief Restructuring Officer, or another

     authorized representative of the Debtors, on behalf of Debtors, is hereby authorized, in

     accordance with §§105(a), 363 and 365 of the Bankruptcy Code, to (a) assume and assign

     to Purchaser, effective upon the Closing Date, the Assumed Executory Contracts, and/or to

     transfer, sell and deliver to Purchaser all of Debtors’ right, title and interest in and to the


Page 13 of 19 ORDER GRANTING DEBTORS' (1) MOTION FOR AUTHORITY TO SELL                  VANDEN BOS & CHAPMAN, LLP
                                                                                                    Attorneys at Law
              PROPERTY FREE AND CLEAR OF LIENS AND (2) MOTION TO ASSUME                   319 SW Washington Street, Suite 520
                                                                                             Portland, Oregon 97204-2690
              AND ASSIGN EXECUTORY CONTRACTS AND DETERMINE CURE                                     (503) 241-4869
              AMOUNTS
     {00204699:1}            Case 18-31644-pcm11      Doc 468     Filed 09/19/18
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     Assumed Executory Contracts, free and clear of all Interests of any kind or nature

     whatsoever (other than Assumed Liabilities and Permitted Encumbrances), (b) execute and

     deliver to Purchaser such documents or other instruments as may be necessary to assign

     and transfer the Assumed Executory Contracts to Purchaser or to accomplish any of the

     transfers contemplated by the Sale; or (c) any and all other documents reasonably

     necessary to consummate all transactions contemplated in the APA.

              16.     The requirements of §§365(b)(1) and 365(b)(2) of the Bankruptcy Code are

     hereby deemed satisfied with respect to the Assumed Executory Contracts (subject to

     payment of the Cure Amounts). The Assumption Motion is granted. The Assumed

     Executory Contracts assumed by Debtors and assigned to Purchaser pursuant to this Order

     are limited to those shown on Exhibit B attached hereto.

              17.     The Assumed Executory Contracts shall be transferred to, and remain in full

     force and effect for the benefit of, Purchaser, in accordance with their respective terms,

     notwithstanding any provision in any such Assumed Executory Contract (including

     provisions of the type described in §365(b)(2), (e)(1) and (f)(1) of the Bankruptcy Code),

     which prohibits, restricts or conditions such assignment or transfer. The non-Debtor party to

     each Assumed Executory Contract shall be deemed to have consented to such assignment

     under §365(c)(1)(B) of the Bankruptcy Code, and Purchaser shall enjoy all of the rights and

     benefits under each such Assumed Executory Contract as of the Closing Date without the

     necessity of obtaining such non-Debtor party's written consent to the assumption and

     assignment thereof.

              18.     Subject to payment of the Cure Amounts, all defaults or other obligations of

     Debtors under the Assumed Executory Contracts arising or accruing prior to the Closing


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                                                                                                Attorneys at Law
              PROPERTY FREE AND CLEAR OF LIENS AND (2) MOTION TO ASSUME               319 SW Washington Street, Suite 520
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     Date will be cured as of the Closing Date in accordance with the terms of the APA such that

     Purchaser shall have no liability or obligation with respect to any default or obligation arising

     or accruing under any Assumed Executory Contract prior to the Closing Date, and no claim

     of any non-Debtor party thereto relating to any period prior to the Closing Date may be

     asserted or enforced against Purchaser. Each non-Debtor party to an Assumed Executory

     Contract is forever barred, estopped and permanently enjoined from asserting a cure

     amount different from the Cure Amount or asserting against Purchaser or its property or

     affiliates, any breach or default or any liability or obligation for any breach of default arising

     prior to the Closing Date under any Assumed Executory Contract, any claim of lack of

     consent relating to the assignment thereof, or any counterclaim, defense, setoff, right of

     recoupment or any other matter arising prior to the Closing Date for such Assumed

     Executory Contract or with regard to the assumption and assignment thereof pursuant to the

     APA or this Order.

              19.     Upon assignment of the Assumed Executory Contracts to Purchaser on the

     Closing Date and payment of the Cure Amounts no breach or default shall exist under any

     Assumed Executory Contract and no non-Debtor party to any Assumed Executory Contract

     shall be permitted to declare a breach or default by Purchaser under such Assumed

     Executory Contract or otherwise take action against Purchaser as a result of Debtors’

     financial condition, bankruptcy or failure to pay any amounts necessary to cure Debtors’

     defaults thereunder. Upon entry of this Order and assumption and assignment of the

     Assumed Executory Contracts, Purchaser shall be deemed in compliance with all terms and

     provisions of the Assumed Executory Contracts.




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                                                                                                   Attorneys at Law
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              20.     Notwithstanding anything to the contrary in this Order, upon assumption of the

     Assumed Executory Contracts, Purchaser is assuming all liabilities arising under the

     Assumed Executory Contracts arising and accruing on and after the Closing Date.

              21.     The notice procedures set forth in the Assumption Motion with respect to

     assumption and assignment of Additional Contracts that are not Assumed Executory

     Contracts as of the date of this Order are hereby approved.

              22.     The consideration provided by Purchaser for the Acquired Assets under the

     APA is fair and reasonable, and the Sale may not be avoided, or costs or damages imposed

     or awarded, under §363(n) of the Bankruptcy Code or any other provision of the Bankruptcy

     Code or applicable law.

              23.      Purchaser negotiated, executed, delivered, and performed under the APA in

     good faith, as that term is used in §363(m) of the Bankruptcy Code, and will purchase the

     Acquired Assets and take assignment of the Assumed Executory Contracts in good faith,

     and, accordingly, the reversal or modification on appeal of the authorization provided herein

     to consummate the Sale shall not affect the validity of the Sale to Purchaser. Purchaser is a

     good-faith purchaser of the Acquired Assets, including the Assumed Executory Contracts,

     and is entitled to all of the benefits and protections afforded by §363(m) of the Bankruptcy

     Code.

              24.     This Court retains jurisdiction to enforce and implement the terms and

     provisions of the APA, all amendments thereto, any waivers and consents thereunder and

     of each of the agreements executed in connection therewith in all respects, including, but

     not limited to, retaining jurisdiction to (a) compel delivery of the Acquired Assets and

     assignment of the Assumed Executory Contracts to Purchaser, (b) resolve any disputes


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                                                                                                Attorneys at Law
              PROPERTY FREE AND CLEAR OF LIENS AND (2) MOTION TO ASSUME               319 SW Washington Street, Suite 520
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     arising under or related to the APA or the Assumed Executory Contracts and (c) interpret,

     implement and enforce the provisions of this Order.

              25.     On or before the Closing Date, each of Debtors' creditors is authorized and

     directed to execute such documents and take all other actions as may be necessary, or

     reasonably requested by Debtors or Lyrical, to release its Interests in the Acquired Assets, if

     any, as such Interests may have been recorded or otherwise exist.

              26.     If any person or entity that has filed financing statements, mortgages,

     agricultural liens, lis pendens or other documents or agreements evidencing Interests

     (including any statutory lien claims such as agricultural produce, agricultural service, or

     nurserymen's liens) with respect to the Acquired Assets shall not have delivered to Debtors

     and Purchaser prior to the Closing Date in proper form for filing and executed by the

     appropriate parties, termination statements, instruments of satisfaction, releases of all

     Interests that the person or entity has with respect to Debtors and/or Acquired Assets or

     otherwise, then (a) Debtors are hereby authorized as part of the closing of the Sale, to

     execute and file such statements, instruments, releases and other documents on behalf of

     the person or entity with respect to such assets and contracts and (b) Purchaser is hereby

     authorized to file, register or otherwise record a certified copy of this Order, which, once

     filed, registered or otherwise recorded, shall constitute conclusive evidence of the release of

     all Interests in the Acquired Assets as of the Closing Date of any kind or nature whatsoever

     (other than the Assumed Liabilities and Permitted Encumbrances).

              27.     The terms and provisions of the APA and this Order shall be binding in all

     respects upon, and shall inure to the benefit of, the Debtors, their estates, their successors

     and assigns, Purchaser and its respective affiliates, successors and assigns, and any


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                                                                                                 Attorneys at Law
              PROPERTY FREE AND CLEAR OF LIENS AND (2) MOTION TO ASSUME                319 SW Washington Street, Suite 520
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     affected third parties, notwithstanding any subsequent appointment of any trustee(s) under

     any chapter of the Bankruptcy Code, as to which trustee(s) such terms and provisions

     likewise shall be binding.

              28.     After the Closing Date, no person or entity, including, without limitation, any

     federal, state or local taxing authority, may (a) attach or perfect a lien or security interest

     against any of the Acquired Assets on account of, or (b) collect or attempt to collect from

     Purchaser or any of its affiliates, any tax (or other amount alleged to be owing by Debtors)

     (i) for any period commencing before and concluding prior to or after the Closing Date or (ii)

     assessed prior to and payable after the Closing Date, except as otherwise specifically

     provided in the APA.

              29.     No bulk sales law or any similar law of any state or other jurisdiction shall

     apply in any way to the transfer of the Acquired Assets to Purchaser.

              30.     The APA and any related agreements, documents or other instruments may

     be modified, amended or supplemented by the parties thereto, in a writing signed by such

     parties, and in accordance with the terms thereof, without further order of the Court,

     provided that any such modification, amendment or supplement does not have a material

     adverse effect on Debtors' estates.

              31.     The provisions of the APA and this Order shall remain effective and

     enforceable notwithstanding the subsequent entry of any order confirming any Chapter 11

     plan or other order in these cases (including any order entered after any conversion of these

     cases under Chapter 7 of the Bankruptcy Code).

              32.     The failure specifically to include any particular provisions of the APA in this

     Order shall not diminish or impair the effectiveness of such provisions, it being the intent of


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                                                                                                   Attorneys at Law
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     the Court that the APA be authorized and approved in its entirety. Likewise, all of the

     provisions of this Order are nonseverable and mutually dependent. In the event of any

     direct conflict between the terms of the APA and this Order, this Order shall be controlling.

              33.     This Order shall be effective and enforceable immediately upon entry and,

     notwithstanding the provisions of Bankruptcy Rules 6004 and 6006, this Order shall not be

     stayed for fourteen (14) days after the entry hereof, but shall be effective and enforceable

     immediately upon issuance hereof. Time is of the essence in closing the transactions

     referenced herein and Debtors and Purchaser intend to close the Sale as soon as

     practicable.

              34.     Any closing of the transactions set forth in the APA shall be subject to the

     protections of § 363(m) and all principles of equitable mootness.



                                                      ###
              I certify that I have complied with the requirements of LBR 9021-1(a)(2)(A).
     PRESENTED BY:

      VANDEN BOS & CHAPMAN, LLP                          MOTSCHENBACHER & BLATTNER LLP


      By:/s/Douglas R. Ricks                             By:/s/Nicholas J. Henderson
        Douglas R. Ricks, OSB #044026                       Nicholas J. Henderson, OSB #074027
        Of Attorneys for Debtor-in-Possession               Of Attorneys for Debtor-in-Possession
        Sunshine Dairy Foods Management, LLC                Karamanos Holdings, Inc.

      First Class Mail:                                 Electronic Mail:

      See Attached List. (The original Service List The foregoing was served on all CM/ECF
      is attached to the original copy filed with the participants through the Court's Case
      Court only. Creditors may request a copy        Management/Electronic Case File system.
      of the Service List by contacting the
      undersigned.)




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                                                                                                  Attorneys at Law
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                                                             EXECUTION VERSION




                       ASSET PURCHASE AGREEMENT

                               BY AND AMONG

                            LYRICAL FOODS, INC.

                                  as Purchaser,

                                        and

 SUNSHINE DAIRY FOODS MANAGEMENT, LLC and KARAMANOS HOLDINGS,
                            INC.

                                   as Sellers

                           Dated as of August 10, 2018




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                             ASSET PURCHASE AGREEMENT

        This ASSET PURCHASE AGREEMENT (this “Agreement”), dated as of August 10,
2018 (the “Execution Date”), is made and entered into by and among LYRICAL FOODS, INC.,
a Delaware corporation (“Purchaser”), SUNSHINE DAIRY FOODS MANAGEMENT, LLC, an
Oregon limited liability company and KARAMANOS HOLDINGS, INC, an Oregon corporation
(each a “Seller”, and collectively “Sellers”). Certain capitalized terms used herein are defined in
Article I.

                                          RECITALS

        WHEREAS, on May 9, 2018, Sellers commenced jointly-administered cases (the
“Chapter 11 Cases”) under chapter 11 of title 11 of the United States Code, 11 U.S.C. § 101 et
seq. (the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of Oregon
(the “Bankruptcy Court”); and

        WHEREAS, Purchaser desires to acquire certain assets of Sellers identified herein, and
Sellers desire to sell, convey, assign, and transfer to Purchaser such assets pursuant to the terms
and conditions of this Agreement; and

       WHEREAS, it is intended that the Acquired Assets (defined below), will be sold and
purchased pursuant to the terms of this Agreement in a sale authorized by the Bankruptcy Court
pursuant to section 363 of the Bankruptcy Code; and

       WHEREAS, it is intended that the Bankruptcy Court shall approve the assumption and
assignment of certain Executory Contracts (defined below) under section 365 of the Bankruptcy
Code.

        NOW, THEREFORE, in consideration of the foregoing and the mutual representations,
warranties, covenants and agreements set forth herein, and for other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, and intending to be
legally bound hereby, Purchaser and Sellers hereby agree as follows:

                                          ARTICLE I.

                                        DEFINITIONS

       1.1    Certain Definitions. For purposes of this Agreement, the following terms used in
this Agreement shall have the respective meanings assigned to them below:

                       (a)     “Accounts Receivable” means (i) any and all accounts receivable,
       trade accounts and other amounts (including overdue accounts receivable) owed to
       Sellers relating to, or arising in connection with the operation and conduct of, the
       Business and any other similar rights of Sellers to payment from third parties and the full
       benefit of all security for such accounts or rights to payment, including all trade accounts
       receivable representing amounts receivable in respect of services rendered, in each case
       owing to Sellers; (ii) all other accounts or notes receivable of Sellers and the full benefit
       of all security for such accounts or notes receivable; and (iii) any and all claims, remedies



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      or other rights relating to any of the foregoing, together with any interest or unpaid
      financing charges accrued thereon.

                     (b)     “Acquired Assets” means, all right, title and interest of Sellers in
      certain of their assets, including the Acquired Property, set forth in Exhibit A hereto,
      which excludes all right, title and interest of Sellers in the Excluded Assets.

                    (c)    “Acquired Property” means that certain property located at 8440
      NE Halsey Street, Portland, Oregon 97220.

                       (d)    “Affiliate” means, with respect to any Person, any other Person
      that, directly or indirectly through one or more intermediaries, controls, or is controlled
      by, or is under common control with, such Person, and the term “control” (including the
      terms “controlled by” and “under common control with”) means the possession, directly
      or indirectly, of the power to direct or cause the direction of the management and policies
      of such Person, whether through ownership of voting securities, by contract or otherwise.

                      (e)     “Alternative Transaction” means a sale, transfer or other
      disposition of all or any substantial portion of the Acquired Assets to any person or entity
      (or persons or entities) other than Purchaser, in any transaction or series of transactions.

                    (f)    “Assumed Executory Contracts” means the Executory Contracts
      assumed by and assigned to Purchaser pursuant to section 365 of the Bankruptcy Code in
      accordance with the Bidding Procedures, set forth in Exhibit B hereto.

                     (g)    “Assumed Liabilities” means, only those liabilities expressly set
      forth on Exhibit C hereto, which include the Assumed Executory Contracts.

                     (h)    “Bankruptcy Rules” means the Federal Rules of Bankruptcy
      Procedure.

                     (i)    “Bidding Procedures” means the procedures governing the
      submission, evaluation and qualification of competing bids on the Acquired Assets, and
      the auction among qualified bidders for the purchase of the Acquired Assets, as described
      in the Bidding Procedures Order.

                    (j)     “Bidding    Procedures Order” means an order of the Bankruptcy
      Court, reasonably satisfactory    in form and substance to Sellers, Purchaser and their
      respective counsel, approving    the sale process described in the Sale Motion and the
      Bidding Procedures, including,   without limitation, the Stalking Horse Provisions.

                     (k)    “Break Fee” means that amount payable pursuant to Section 7.2(b)
      as liquidated damages, and not as a penalty, in the amount of $150,000.

                     (l)     “Business” means the business of operating a dairy and dairy
      substitute processing, manufacturing and co-packing business at the Acquired Property.




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                     (m)   “Business Day” means any day other than a Saturday, Sunday or a
      legal holiday on which banking institutions in the State of Oregon are not required to
      open.

                     (n)    “Cash and Cash Equivalents” means all of Sellers’ cash (including
      petty cash but excluding any checks that remain uncashed or uncleared prior to the close
      of business on the Closing Date), checking account balances, marketable securities,
      certificates of deposits, time deposits, bankers’ acceptances, commercial paper and
      government securities and other cash equivalents.

                   (o)       “Claim” has the meaning set forth in section 101(5) of the
      Bankruptcy Code.

                     (p)    “Contract” means any written or oral contract, lease, purchase
      order, service order, sales order, or instrument or other agreement, arrangement or
      commitment that is binding upon a Person or its property, and any amendments,
      modifications or supplements thereto.

                     (q)      “Cure Costs” means all costs required to pay all amounts,
      obligations and liabilities accrued, due and to become due and all costs and other
      obligations required to cure all defaults that may exist under any Assumed Executory
      Contract as of the Closing Date or that may arise after the Closing Date based on the
      occurrence of an event that occurred prior to the Closing Date.

                     (r)    “Deposit” shall mean the good-faith deposit in the amount of 10%
      of the Cash Purchase Price (defined below) deposited by Purchaser on or prior to August
      20, 2018, in an account to be determined by Sellers and Purchaser.

                      (s)     “Documents” means all of Sellers’ written files, documents,
      instruments, papers, books, reports, records, tapes, microfilms, photographs, letters,
      budgets, forecasts, plans, operating records, safety and environmental reports, data,
      studies and documents, Tax Returns, ledgers, journals, title policies, customer lists,
      regulatory filings, operating data and plans, research material, technical documentation
      (design specifications, engineering information, test results, maintenance schedules,
      functional requirements, operating instructions, logic manuals, processes, flow charts,
      etc.), user documentation (installation guides, user manuals, training materials, release
      notes, working papers, etc.), marketing documentation (sales brochures, flyers,
      pamphlets, web pages, etc.), and other similar materials related to, used in, or held for use
      in connection with the Business or any of the Acquired Assets, in each case whether or
      not in electronic form.

                      (t)      “Encumbrance” means any lien, encumbrance, Claim, right,
      demand, charge, mortgage, deed of trust, option, pledge, security interest or similar
      interest, title defect, hypothecation, easement, right of way, restrictive covenant,
      condition, restriction, encroachment, rights of first refusal, preemptive right, judgment,
      conditional sale or other title retention agreements and other imposition, imperfection or
      defect of title or restriction on transfer or use of any nature whatsoever, whether secured




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      or unsecured, choate or inchoate, filed or untiled, scheduled or unscheduled, recorded or
      unrecorded, contingent or non-contingent, material or non-material, known or unknown.

                       (u)    “Excluded Assets” means (i) Cash and Cash Equivalents and (ii)
      Account Receivables of the Sellers, but only to the extent that such Accounts Receivable
      are based solely on actions of Sellers prior to the Closing Date and if such Accounts
      Receivable are fully accrued and vested as of the Closing Date, with no further condition
      precedent to any obligation thereon, and (iii) those other assets and properties of Sellers
      that are not included in the Acquired Assets.

                      (v)    “Excluded Liabilities” means those liens, Claims, interests,
      Encumbrances or Liabilities of Sellers or related to the Acquired Assets or any other
      assets of Sellers, whether actual or contingent, accrued or unaccrued, matured or
      unmatured, liquidated or unliquidated, or known or unknown, that are not the Assumed
      Liabilities set forth on Exhibit C hereto, and which shall include (i) any employment
      related obligations, except to the extent such liabilities arise after the Closing under an
      Assumed Executory Contract, (ii) any liabilities to customers or end users on account of
      any products of Sellers or otherwise, whether products liability claims, warranty or defect
      claims, successor liability claims, or otherwise, and (iii) any liabilities of the Sellers with
      respect to any pension plan or the Employee Retirement Income Security Act of 1974.

                     (w)    “Executory Contracts” means all executory contracts (including
      licenses) and unexpired leases in effect as of the date hereof to which Sellers is a party.

                     (x)     “Expense Reimbursement” shall have the meaning set forth in
      Section 7.2.

                      (y)    “Final Order” means an Order or judgment of the Bankruptcy
      Court or any other court of competent jurisdiction entered by the Clerk of the Bankruptcy
      Court or such other court on the docket in Sellers’ Chapter 11 Cases or the docket of such
      other court, which has not been modified, amended, reversed, vacated or stayed and as to
      which (i) the time to appeal, petition for certiorari, or move for a new trial, reargument or
      rehearing has expired and as to which no appeal, petition for certiorari or motion for new
      trial, reargument or rehearing shall then be pending or (ii) if an appeal, writ of certiorari,
      new trial, reargument or rehearing thereof has been sought, such Order or judgment of the
      Bankruptcy Court or other court of competent jurisdiction shall have been affirmed by
      the highest court to which such Order was appealed, or certiorari shall have been denied,
      or a new trial, reargument or rehearing shall have been denied or resulted in no
      modification of such Order, and the time to take any further appeal, petition for certiorari
      or move for a new trial, reargument or rehearing shall have expired, as a result of which
      such Order shall have become final in accordance with Rule 8002 of the Bankruptcy
      Rules; provided, that the possibility that a motion under Rule 60 of the Federal Rules of
      Civil Procedure, or any analogous rule under the Bankruptcy Rules, may be filed relating
      to such Order, shall not cause such Order not to be a Final Order.




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                     (z)   “Final Sale Notice” means a notice distributed in accordance with
      the Bidding Procedures regarding the transactions contemplated by this Agreement and
      the Sale Order.

                      (aa) “Governmental Body” means any government, quasi-governmental
      entity, or other governmental or regulatory body, agency or political subdivision thereof
      of any nature, whether foreign, federal, state, provincial or local, or any ministry agency,
      branch, department, official, entity, instrumentality or authority thereof, or any court or
      arbitrator (public or private) or any judicial, quasi-judicial or administrative body, or any
      regulatory body of applicable jurisdiction

                      (bb) “Intellectual Property” shall mean the following subsisting
      throughout the world: Patent Rights; Trademarks and all goodwill in the Trademarks;
      copyrights, designs, data and database rights and registrations and applications for
      registration thereof, including moral rights of authors; mask works and registrations and
      applications for registration thereof; inventions, invention disclosures, statutory invention
      registrations, trade secrets and confidential business information, know-how,
      manufacturing and product processes and techniques, research and development
      information, financial, marketing and business data, pricing and cost information,
      business and marketing plans and customer and supplier lists and information, whether
      patentable or nonpatentable, whether copyrightable or noncopyrightable and whether or
      not reduced to practice; and other proprietary rights relating to any of the foregoing
      (including remedies against infringement thereof and rights of protection of interest
      therein under the laws of all jurisdictions).

                    (cc)   “Key Employees” means those employees of the Sellers
      designated by Purchaser and as listed on Schedule 1 to Exhibit D hereto, which may be
      amended from time to time prior to the Closing Date by Purchaser, but such amendments
      may only remove employees from Schedule 1 to Exhibit D, not substitute or add
      employees.

                    (dd) “Laws” (and each, a “Law”) means all federal, state, provincial,
      local or foreign laws, statutes, common law, rules, codes, regulations, restrictions,
      ordinances, Orders, decrees, approvals, directives, judgments, rulings, injunctions, writs
      and awards of, or issued, promulgated, enforced or entered by, any and all Governmental
      Bodies, or court of competent jurisdiction, or other legal requirement or rule of law,
      including common law.

                       (ee) “Legal Proceeding” means any judicial, administrative or arbitral
      actions, suits, proceedings (public or private) or claims or any proceedings by or before a
      Governmental Body.

                       (ff)  “Liability” means, as to any Person, any debt, adverse claim,
      liability, duty, responsibility, obligation, commitment, assessment, cost, expense, loss,
      expenditure, charge, fee, penalty, fine, contribution or premium of any kind or nature
      whatsoever, whether known or unknown, asserted or unasserted, absolute or contingent,




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      direct or indirect, joint or several, accrued or unaccrued, liquidated or unliquidated, or
      due or to become due, including all costs and expenses relating thereto.

                    (gg) “Notice of Proposed Assumed Executory Contracts” means a
      notice filed by Sellers with the Bankruptcy Court in accordance with the Bidding
      Procedures identifying the Executory Contracts Purchaser intends to assume as of the
      Closing Date, which notice may be amended pursuant to Section 2.5(a) and Section 3.6.

                      (hh) “Order” means any order, writ, judgment, injunction, decree,
      stipulation, determination, decision, verdict, ruling, subpoena, or award entered by or
      with any governmental authority (whether temporary, preliminary or permanent).

                    (ii)   “Other Employees” means those employees of the Sellers
      designated by Purchaser and as listed on Schedule 2 to Exhibit D hereto, which may be
      amended from time to time prior to the Closing Date by Purchaser.

                      (jj)   “Patent Rights” shall mean all patents, patent applications, utility
      models, design registrations and certificates of invention and other governmental grants
      for the protection of inventions or industrial designs (including all related continuations,
      continuations-in-part, divisionals, reissues and reexaminations).

                      (kk) “Permits” means all licenses, permits (including environmental,
      construction and operation permits), provider numbers, franchises, certificates, approvals,
      consents, waivers, clearances, exemptions, classifications, registrations, orders and other
      similar documents and authorizations issued by any Governmental Body and/or any
      self­regulatory body or organization to or for the benefit of Sellers and used, or held for
      use, in connection with the operation of the Business or applicable to ownership of the
      Acquired Assets or assumption of the Assumed Liabilities.

                     (ll)    “Permitted Encumbrance” means, collectively, all of the following:
      (a) applicable zoning, subdivision, building and other land use laws and regulations; (b)
      all matters, whether or not of record, that arise out of the actions of Purchasers or
      Purchaser’s agents; (c) all matters that a title insurer is willing to insure over without
      additional premium or indemnity and which do not have a material adverse impact on the
      ownership, operation or value of the Acquired Property; (d) all matters shown on or
      referenced in a title insurance commitment or otherwise of record as of the Execution
      Date; and (e) all matters shown on a current boundary survey of the Acquired Property or
      such state of facts as would be disclosed by a physical inspection of the Acquired
      Property as of the Execution Date.

                    (mm) “Person” means an individual, corporation, partnership, limited
      liability company, unlimited liability company, joint venture, association, trust,
      unincorporated organization, labor union, estate, Governmental Body or other entity or
      group.

                    (nn) “Petition Date” means the date Sellers commenced their Chapter
      11 Cases under chapter 11 of the Bankruptcy Code in the Bankruptcy Court.




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                     (oo) “Regulatory Approvals” means any consents, waivers, approvals,
      Orders, Permits or authorizations of any Governmental Body required in connection with
      the execution, delivery and performance of this Agreement and the consummation of the
      transactions contemplated hereunder.

                    (pp) “Sale Hearing” means the hearing before the Bankruptcy Court to
      approve this Agreement and seeking entry of the Sale Order.

                      (qq) “Sale Motion” means a motion of the Sellers, filed in the
      Bankruptcy Court, reasonably satisfactory in form and substance to the Sellers,
      Purchaser, and their respective counsel, seeking approval of the Bidding Procedures, the
      Stalking Horse Provisions, this Agreement and the transactions contemplated herein, and
      entry of the Bidding Procedures Order and Sale Order.

                       (rr)  “Sale Order” means an order of the Bankruptcy Court, satisfactory
      in form and substance to Purchaser, (a) approving this Agreement and the transactions
      contemplated herein, including, without limitation, the sale of the Acquired Assets free
      and clear of all liens, Claims, interests and Encumbrances, including those relating to
      mortgages, Taxes (other than Transfer Taxes), warranty, products liability, successor
      liability, environmental obligations or liabilities (including under the Comprehensive
      Environmental Response, Compensation, and Liability Act), pensions or under the
      Employee Retirement Income Security Act of 1974, (b) the assumption and assignment
      of all Assumed Executory Contracts, and (c) including, without limitation, a finding that
      Purchaser has acted in good faith and is entitled to the protections of section 363(m) of
      the Bankruptcy Code.

                  (ss)    “Stalking Horse Provisions” means the Break Fee, the Expense
      Reimbursement, and the other provisions described in Section 7.2 of this Agreement.

                       (tt)    “Subsidiary” means, with respect to any Person, (a) any other
      Person that directly, or indirectly through one or more intermediaries, is controlled by
      such Person; or (b) any other Person where a majority of its equity interests are held,
      directly, or indirectly through one or more intermediaries, by such Person. For purposes
      of this definition, “control” (including, with correlative meaning, the terms “controlling”
      and “controlled”) means the possession, directly or indirectly, of the power to direct or
      cause the direction of the management and policies of such Person, whether through
      ownership of voting securities, by contract or otherwise.

                      (uu) “Tax” and “Taxes” mean any and all taxes, charges, fees, tariffs,
      duties, impositions, levies or other assessments, imposed by any Laws or Governmental
      Body, and including any interest, penalties or additional amounts attributable to, imposed
      upon, or with respect thereto.

                      (vv) “Tax Return” means any return, report, information return,
      declaration, claim for refund or other document (including any schedule or related or
      supporting information) supplied or required to be supplied to any Governmental Body
      with respect to Taxes, including attachments thereto and amendments thereof.




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                       (ww) “Third Party” means any Person that is not a party hereto or an
       Affiliate or a party hereto.

                        (xx) “Trademarks” shall mean all trademarks and service marks, logos,
       trade dress, Internet domain names, corporate names and doing business designations and
       all registrations and applications for registration of the foregoing.

                       (yy) “Transaction Documents” means any and all such instruments
       required to effectuate the transactions contemplated by this Agreement.

                                           ARTICLE II.

    ACQUISITION AND TRANSFER OF ASSETS; ASSUMPTION OF LIABILITIES

        2.1     Transfer of Assets. Subject to approval of the Bankruptcy Court, and upon the
terms and subject to the conditions and provisions contained herein, at the Closing, Sellers shall
sell, convey, transfer, assign and deliver to Purchaser, and Purchaser shall acquire and accept
from Sellers, the Acquired Assets, subject to all Assumed Liabilities and Permitted
Encumbrances, otherwise free and clear of all liens, Claims, interests, Encumbrances and
Excluded Liabilities, subject to Section 2.4 below. Notwithstanding anything to the contrary, the
Acquired Assets shall not include any of the Excluded Assets.

        2.2    Excluded Assets. Notwithstanding anything to the contrary in this Agreement,
the Acquired Assets shall not include, and Sellers shall retain, all of their right, title and interest
in and to, and shall not sell, convey, transfer, assign or deliver to Purchaser any of the Excluded
Assets.

       2.3      Assumed Liabilities. At the Closing, Purchaser shall assume and have sole
responsibility for the Assumed Liabilities.

       2.4      Excluded Liabilities. For the avoidance of doubt, notwithstanding any other
terms, provisions and conditions of this Agreement, Purchaser shall not assume, or otherwise be
responsible or liable for, the Excluded Liabilities.

       2.5    Assumed Executory Contracts. To the maximum extent permitted by the
Bankruptcy Code and in accordance with the Bidding Procedures, each Assumed Executory
Contract shall be assumed by and assigned to Purchaser pursuant to section 365 of the
Bankruptcy Code as of the later of: (a) if no objection is filed by the Closing Date to the Notice
of Proposed Assumed Executory Contracts, the Closing Date, or (b) if an objection is filed by the
Closing Date to the Notice of Proposed Assumed Executory Contracts, the date such assumption
and assignment is approved by an Order of the Bankruptcy Court.

                     (a)    Subject to Section 3.6 hereof, on or before the Closing Date,
       Purchaser may, at any time and for any reason, in its sole discretion, elect to remove any
       Executory Contract from Exhibit B, in which case such Executory Contract shall not be
       an Assumed Executory Contract; provided, however, any Executory Contract removed
       from Exhibit B on account of an objection to the proposed assumption by and assignment
       of such Executory Contract to Purchaser may be subsequently added to Exhibit B and



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       will be deemed an Assumed Executory Contract once such objection is resolved and such
       Executory Contract is assumed by and assigned to Purchaser.

                      (b)   Sellers shall be responsible and liable for, and shall pay all Cure
       Costs from the Cash Purchase Price (or, in the alternative, shall agree with Purchaser that
       Purchaser shall pay Cure Costs directly and deduct the amount of such paid Cure Costs
       from the Cash Purchase Price otherwise payable to Sellers) in accordance with Section
       3.2 and Section 3.6.

       2.6    Liens and Encumbrances. Any liens, except for the Permitted Encumbrances, on
the Acquired Assets existing as of the Closing Date will attach to the proceeds from the sale of
the Acquired Assets according to such liens’ relative priorities.

                                          ARTICLE III.

                                      CONSIDERATION

         3.1    Consideration. The aggregate consideration (collectively, the “Purchase Price”)
to be paid for the acquisition of the Acquired Assets shall consist of the following, which shall be
payable in accordance with the terms and conditions set forth in this Article III and Article IV:
an amount in cash equal to $5,600,000 (the “Cash Purchase Price”), which Cash Purchase Price
shall be net of (i) the Deposit provided by Purchaser in accordance with Section 3.4; plus (ii)
assumption of all other Assumed Liabilities set forth in Exhibit C; plus or minus (as applicable)
(iii) any adjustments for prorations pursuant to Section 4.5.

        3.2     Payment of Purchase Price at Closing. The Purchase Price as described in
Section 3.1 shall be satisfied at the Closing, subject to the terms and conditions contained in this
Article III and Article IV.

       3.3    Assumed Liabilities. Purchaser shall assume the Assumed Liabilities pursuant to
the assignment and assumption agreement substantially in the form attached hereto as Exhibit F
(the “Assignment and Assumption Agreement”).

         3.4    Allocation of Consideration. Within thirty (30) calendar days after the Closing
Date, Purchaser shall deliver to Sellers a statement setting forth the allocation of the Purchase
Price among the Acquired Assets. Purchaser and Sellers shall use commercially reasonable
efforts to promptly agree on such allocation of the deemed sales price of the Acquired Assets, in
accordance with the allocation requirements of Section 1060 of the Internal Revenue Code (the
allocation agreed on by the parties pursuant to this Section, the “Allocation”). If Purchaser and
Sellers are unable to agree on the Allocation within twenty (20) days after delivery of the initial
allocation, then the Parties shall submit the matter for resolution by the Bankruptcy Court. Such
Allocation shall become part of this Agreement for all purposes. Sellers and Purchaser agree to
report, pursuant to section 1060 of the Internal Revenue Code of 1986 and the regulations
promulgated thereunder, if and when required, the Allocation of the Purchase Price, as adjusted,
in a manner entirely consistent with such Allocation in the preparation and filing of all Tax
Returns (including IRS form 8594). Neither Sellers nor Purchaser shall take any action that
would call into question the bona fide nature of such Allocation; and none of the parties shall




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take any position for Tax purposes which is inconsistent with such Allocation, unless required to
do so under applicable law. Notwithstanding the foregoing, the Allocation shall not be binding
upon any person or entity that is not a party to this Agreement

        3.5      Deposit. Purchaser has provided the Deposit in good faith. If the Closing occurs,
the Deposit shall be paid to Sellers and applied against the Cash Purchase Price at the Closing as
described in Section 3.2. If the Closing does not occur, then the Deposit shall be disbursed as
follows: (i) in the event of a termination of this Agreement for any reason other than breach by
Purchaser as a result of Purchaser’s failure to perform its obligations at Closing notwithstanding
that all conditions to such performance have been satisfied, the Deposit shall be returned to
Purchaser; or (ii) in the event of a termination of this Agreement and the Deposit has not been
disbursed in accordance with clauses (i) or (ii) of this Section 3.5, then the Deposit shall be
disbursed as any court of competent jurisdiction may direct. Purchaser and Sellers shall
cooperate to select or establish an account designated to hold the Deposit prior to its
disbursement, and to implement the provisions of this Section 3.5.

        3.6    Alteration and Amendment of Exhibits; Cure Costs. Notwithstanding anything to
the contrary contained in this Agreement, Purchaser may, by notice to Sellers, at any time on or
before the Closing Date, in its sole discretion: (a) alter or amend Exhibit A to this Agreement by
removing an Acquired Asset, and (b) add any Executory Contract to Exhibit B to this
Agreement, provided, however, Sellers or Purchaser (as determined in accordance with
Section 2.5(b) hereof) shall pay the Cure Costs associated with all Assumed Executory Contracts
listed on Exhibit B as of the Closing Date up to an aggregate amount not to exceed $1,000,000;
provided, further, to the extent an objection is filed by the Closing Date to the Notice of
Proposed Assumed Executory Contracts concerning an Executory Contract listed on Exhibit B
as of the Closing Date, such Executory Contract may be removed from Exhibit B on the Closing
Date and Purchaser shall not be obligated to pay any Cure Costs in respect of such Executory
Contract unless and until such objection is resolved and such Executory Contract is assumed by
and assigned to Purchaser, subject to the limitation Purchaser’s liability on aggregate Cure Costs
set forth above in Section 3.6(b). Subject to Section 9.5, the Exhibits to this Agreement, as they
may have been amended by Purchaser in accordance with the immediately preceding sentence or
as otherwise permitted by this Agreement, shall constitute the Exhibits as of any applicable date.

                                         ARTICLE IV.

                              CLOSING AND TERMINATION

         4.1   Closing. Provided that the conditions to closing set forth herein have been
satisfied or, if waivable, have been waived in accordance herewith, the closing of the
transactions contemplated herein (the “Closing”) shall be held at such place as agreed to between
Purchaser and Sellers, within three (3) calendar days following the first day that all such
conditions have been satisfied or, if waivable, waived, on a Business Day mutually agreeable to
Purchaser and Sellers. The date on which the Closing occurs in accordance with the previous
sentence is referred to as the “Closing Date”. Unless otherwise agreed by the parties in writing,
the Closing shall be deemed effective and all right, title and interest of Sellers in the Acquired
Assets to be acquired by Purchaser hereunder shall be considered to have passed to Purchaser




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and the assumption of all of the Assumed Liabilities shall be considered to have occurred as of
12:01 a.m. Pacific Time on the Closing Date.

        4.2    Conveyances at Closing.     At the Closing, Sellers and Purchaser shall take the
following actions:

                       (a)     Purchaser shall pay to Sellers, by wire transfer to one or more
       accounts designated by Sellers, in immediately available funds, the Purchase Price as set
       forth in Section 3.1, less any net amount owing by Sellers pursuant to Section 4.5 of this
       Agreement;

                      (b)    Sellers shall deliver to Purchaser possession of the Acquired
       Assets;

                       (c)   Sellers shall deliver to Purchaser a duly executed bill of sale with
       respect to the Acquired Assets, substantially in the form attached hereto as Exhibit E (the
       “Bill of Sale”) and any other documents described in Section 8.3 hereof, to the extent not
       already delivered;

                     (d)     Sellers shall deliver to Purchaser a duly executed bargain and sale
       deed with respect to the real estate comprising part of the Acquired Assets, in a form to
       be mutually agreed upon by the parties on or before August 20, 2018 (the “Bargain and
       Sale Deed”);

                     (e)    Sellers shall provide to Purchaser all such other duly executed
       instruments as Purchaser may reasonably require to effectuate the transfer, assignment
       and conveyance of the Acquired Assets, including the Acquired Property;

                      (f)    Sellers shall deliver to Purchaser a duly executed consent by First
       Business Capital Corp., as mortgagee of the Acquired Property, in a form acceptable to
       Purchaser, that approves the sale of the Acquired Property free and clear of all
       Encumbrances, including any Encumbrances or interests First Business Capital Corp. has
       with respect to the Acquired Property;

                   (g)    Sellers shall execute and deliver to Purchaser the Assignment and
       Assumption Agreement with respect to the Assumed Liabilities;

                     (h)      Sellers shall execute and deliver to Purchaser a trademark
       assignment for each registered Trademark of Sellers, in a form to be mutually agreed
       upon by the parties on or before August 20, 2018; and

                     (i)     Sellers and Purchaser shall enter into and execute a transition
       services agreement, in a form to be mutually agreed upon by the parties on or before
       August 20, 2018.

       4.3     Additional Deliveries. After the Closing Date, Sellers shall deliver to Purchaser
such other instruments and documents, and shall take such other actions, as shall be reasonably




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requested by Purchaser to vest in Purchaser all of Sellers’ right, title and interest in and to the
Acquired Assets and otherwise to effectuate the transactions described herein.

       4.4    Transaction Expenses. Except as expressly provided herein in respect of the
Expense Reimbursement (to the extent due and owing), each party shall bear its own costs and
expenses, including attorney, accountant and other consultant fees, in connection with the
execution and negotiation of this Agreement and the consummation of the transactions
contemplated by this Agreement.

        4.5     Prorations. To the extent there are obligations in respect of the Acquired Assets
that arose during or relate to the period up to and including the Closing Date (“Pre-Closing
Obligations”) and obligations that arose during or relate to the period following the Closing
Date, including any and all real or personal property tax obligations (“Post-Closing
Obligations”), Purchaser and Sellers shall allocate such obligations between themselves on a
ratable basis that fairly reflects the portions (up to 100%) of such obligations that are Pre-Closing
Obligations and that shall be paid by Sellers, and the portions (up to 100%) of such obligations
that are Post-Closing Obligations and that shall be paid by Purchaser. To the extent that any net
amount is owing to Purchaser or Sellers, as the case may be under this Section 4.5 as of the
Closing, the Purchase Price shall be decreased or increased, as the case may be, to the extent
such prorations are identified as of the Closing, and to the extent such prorations cannot or are
not identified until after the Closing, then any net amount owing to Sellers or Purchaser shall be
paid by the party owing such amount. Any net amount owing to Purchaser under this Section
4.5, shall be an administrative expense of Sellers’ bankruptcy estate under section 503(b) and
section 507(a)(2) of the Bankruptcy Code.

        4.6    Termination of Agreement. This Agreement may be terminated at any time prior
to the Closing as follows:

                       (a)     by the mutual written consent of Sellers and Purchaser;

                     (b)     by Sellers, upon or immediately prior to the consummation of an
       Alternative Transaction as a result of any auction conducted in accordance with the
       Bidding Procedures, but only if Sellers perform their obligations under Section 4.8 and
       Section 7.2;

                       (c)    by either Purchaser or Sellers, if the Closing shall not have been
       consummated prior to September 28, 2018 (the “Outside Date”); provided, that if the
       Closing shall not have occurred on or before the Outside Date due to a material breach of
       any representations, warranties, covenants or agreements contained in this Agreement by
       Purchaser or Sellers, then Purchaser (if Purchaser is in breach) or Sellers (if Sellers are so
       in breach), respectively, may not terminate this Agreement pursuant to this Section
       4.6(c);

                      (d)   by either Purchaser or Sellers, if (a) the Bidding Procedures Order
       has not been entered by the Bankruptcy Court, or if the Stalking Horse Provisions have
       not been approved by the Bankruptcy Court by the close of business on August 27, 2018
       (b) the Bidding Procedures Order has been appealed, withdrawn, revoked, rescinded, or




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       modified, or (c) the Bidding Procedures Order has not become a final, non-appealable
       order within fifteen (15) calendar days following the date on which it was entered;

                      (e)    by either Purchaser or Sellers, if there shall be any Law that makes
       consummation of the transactions contemplated hereby illegal or otherwise prohibited, or
       there shall be in effect a final non-appealable order of a Governmental Body of
       competent jurisdiction restraining, enjoining or otherwise prohibiting the consummation
       of the transactions contemplated hereby; it being agreed that the parties hereto shall
       promptly appeal any such adverse determination which is appealable (and pursue such
       appeal with reasonable diligence);

                       (f)    by Purchaser, if the Cure Cost with respect to each of the Assumed
       Executory Contracts has not been determined within the earlier of two (2) Business Days
       prior to the Closing Date and fourteen (14) days after the entry of the Bidding Procedures
       Order;

                      (g)    by Purchaser if either or both of the Chapter 11 Cases are
       dismissed or converted to a case or cases under Chapter 7 of the Bankruptcy Code;

                      (h)     by Purchaser, if (i) the Sale Order shall not have been entered by
       the Bankruptcy Court by the close of business on September 24, 2018 or (ii) the Sale
       Order has been appealed, withdrawn, revoked, rescinded, modified or amended in any
       material respect without the prior written consent of Purchaser and Sellers;

                      (i)     by Sellers, if Purchaser fails to satisfy any of their material
       obligations at Closing

                     (j)     by Purchaser, if the Cure Costs of the Assumed Executory
       Contracts exceed in the aggregate $1,000,000.00; or

                       (k)    by Purchaser, if Sellers are in breach of any of their material
       obligations hereunder and, to the extent such breach is reasonably capable of cure within
       such period, such breach has not been cured by Sellers within five (5) calendar days after
       written notification by Purchaser.

       4.7     Procedure Upon Termination. In the event of a termination of this Agreement by
Purchaser or Sellers, or both, (a) written notice thereof shall be given promptly by the
terminating party to the other party or parties hereto, specifying the provision hereof pursuant to
which such termination is made, (b) this Agreement shall thereupon terminate and become void
and of no further force and effect, and (c) the consummation of the transactions contemplated by
this Agreement shall be abandoned without further action of the parties hereto. If this
Agreement is terminated as provided herein, all parties shall return all documents, work papers
and other material of any other party relating to the transactions contemplated hereby, whether so
obtained before or after the execution hereof, to the party furnishing the same.

        4.8    Effect of Termination. In the event that this Agreement is validly terminated
pursuant to a right of termination as provided herein, all of the parties shall be relieved of their
duties and obligations arising under this Agreement effective as of the date of such termination



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and such termination shall be without Liability to Purchaser or Sellers; provided, however, that
Section 4.6, Section 4.7 and this Section 4.8, and Section 7.2 hereof, and any other provisions
hereof necessary to implement the provisions of such sections, shall survive any such termination
and shall be enforceable hereunder. In no event shall any termination of this Agreement relieve
any party hereto of any Liability for any willful breach of this Agreement by such party. For
avoidance of doubt, upon termination of this Agreement, (a) the Deposit shall be delivered to any
applicable party as provided in Section 3.4 and (b) Purchaser shall be entitled to the Stalking
Horse Provisions to the extent set forth in Section 7.2.

        4.9     Access to Records; Assistance After Closing. For a period of three (3) years
following the Closing, the Parties shall cooperate with each other, and afford the other Party with
reasonable access to the financial and tax records related to the Acquired Assets and the
Business. Such assistance shall include, but is not limited to, Sellers requesting administrative
and accounting assistance from employees hired by Purchaser pursuant to this Agreement. The
Party providing employee assistance may charge the Party requesting assistance for any actual
out-of-pocket costs or expenses incurred by it in rendering assistance. Such charges for
employee time shall be charged at the respective employees’ annual compensation rates,
including benefits, calculated over a 2080 working hour year.

                                          ARTICLE V.

                REPRESENTATIONS AND WARRANTIES OF SELLERS

       Sellers, on a joint and several basis, make the following representations and warranties to
Purchaser:

          5.1  Organization and Power. Sunshine Dairy Foods Management, LLC is a limited
liability company duly organized, validly existing and in good standing under the Laws of the
State of Oregon and Karamanos Holdings, Inc. is a corporation duly organized, validly existing
and in good standing under the Laws of the State of Oregon. Sellers have all requisite power and
authority to own the Acquired Assets.

       5.2     Corporate Authorization. Subject to entry of the Sale Order, Sellers have full
corporate power and authority to execute and deliver any and all Transaction Documents and to
perform the obligations thereunder. Subject to entry of the Sale Order, the execution, delivery
and performance of Sellers of the Transaction Documents have been duly and validly authorized
and no additional corporate authorization or consent is required in connection therewith.

        5.3     Binding Effect. Subject to entry of the Sale Order, this Agreement has been duly
executed and delivered by Sellers. This Agreement, when executed and delivered by Purchaser,
and the other Transaction Documents when executed and delivered, will, upon the entry of the
Sale Order, constitute the valid and legally binding obligations of Sellers, enforceable against
Sellers jointly and severally in accordance with their respective terms.

        5.4     Ownership of Acquired Assets. Sellers own all Acquired Assets and have the
right to transfer the Acquired Assets to Purchaser, in each case, effective at Closing free and
clear of any Encumbrances, except for the Permitted Encumbrances.




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        5.5    Real Property. With respect to the Acquired Property, except as otherwise
disclosed in writing by the Sellers to the Purchaser, there are no violations of local zoning or
other Laws, no litigation pending or threatened, no pending extraordinary assessments or
impositions of levies by any Governmental Body, and no unperformed obligations that are
currently required by any Governmental Body, nor any hazardous substance waste or material
within or on the Acquired Property.

        5.6   Finders’ Fees. Except for Boverman & Associates, LLC, the fees and expenses of
which will be paid by Sellers, there is no investment banker, broker, finder or other intermediary
who has been retained by or is authorized to act on behalf of Sellers who might be entitled to any
fee or commission in connection with the transactions contemplated by this Agreement.

       5.7    No Other Representations or Warranties. Except for the representations and
warranties expressly contained herein, Sellers make no other express or implied
representation or warranty.   WITHOUT LIMITING THE GENERALITY OF THE
FOREGOING, THE ACQUIRED ASSETS ARE ASSIGNED, “AS IS,” WITHOUT ANY
WARRANTY OF ANY KIND, AND SELLERS HEREBY EXPRESSLY DISCLAIMS, TO
THE EXTENT PERMITTED BY APPLICABLE LAW, ANY AND ALL CONDITIONS OR
WARRANTIES OF ANY KIND OR NATURE, WHETHER EXPRESS, IMPLIED OR
STATUTORY, INCLUDING ANY WARRANTIES OF OR RELATED TO TITLE, NON-
INFRINGEMENT, MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE,
VALIDITY OR ENFORCEABILITY.

                                         ARTICLE VI.

              REPRESENTATIONS AND WARRANTIES OF PURCHASER

       Purchaser makes the following representation and warranties to Sellers:

        6.1     Organization and Power. Purchaser is a corporation duly organized, validly
existing and in good standing under the Laws of the State of Delaware.

       6.2     Authorization. Purchaser has full power and authority to execute and deliver the
Transaction Documents and to perform its obligations thereunder. The execution, delivery and
performance by Purchaser of the Transaction Documents have been duly and validly authorized
and no additional authorization or consent is required in connection therewith.

         6.3   Binding Effect. This Agreement has been duly executed and delivered by
Purchaser. This Agreement, when executed and delivered by Sellers, and the other Transaction
Documents when executed and delivered, will constitute the valid and legally binding
obligations of Purchaser, enforceable against Purchaser in accordance with their respective
terms, subject to bankruptcy, insolvency, reorganization, moratorium and similar Laws of
general applicability relating to or affecting creditors’ rights and to general equity principles.

       6.4     Funding. Purchaser has, or will have as of the Closing, without the need to obtain
any Third Party debt or equity financing, sufficient and unencumbered funds to consummate the
transactions contemplated by this Agreement and to pay the Purchase Price, and Purchaser




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otherwise has the resources and capabilities (financial and otherwise) to perform its obligations
to consummate the transactions contemplated by this Agreement.

        6.5   Adequate Assurances Regarding Assumed Executory Contracts. As of the
Closing, Purchaser will be capable of satisfying the conditions contained in sections
365(b)(1)(C) and 365(f) of the Bankruptcy Code with respect to the Assumed Executory
Contracts.

         6.6   Finders’ Fees.     There is no investment banker, broker, finder or other
intermediary who has been retained by or is authorized to act on behalf of Purchaser or any
Affiliate of Purchaser who might be entitled to any fee or commission in connection with the
transactions contemplated by this Agreement, except for any fee or commission paid directly by
Purchaser and not reducing the Purchase Price in any way.

        6.7    Good Faith Purchaser. Purchaser (i) is a “good faith” purchaser, as such term is
used in the Bankruptcy Code, and (ii) is entitled to the protections of section 363(m) of the
Bankruptcy Code with respect to the transactions contemplated by this Agreement. Purchaser
has negotiated and entered into this Agreement in compliance with the Bidding Procedures, in
compliance with section 363(n) of the Bankruptcy Code, and in good faith and without collusion
or fraud of any kind.

        6.8     Purchaser Experience. Purchaser is experienced and sophisticated with respect to
transactions of the type contemplated by this Agreement. In consultation with experienced
counsel and advisors of its choice, Purchaser has conducted its own independent review and
analysis of the Acquired Assets, the Assumed Liabilities and the rights and obligations it is
acquiring and assuming under the Transaction Documents. Purchaser acknowledges that it and
its representatives have been permitted such access to the books and records, contracts and other
properties related to the Acquired Assets as it required to complete its review.

                                        ARTICLE VII.

                                  CERTAIN COVENANTS

       7.1    Bankruptcy Sale Process.

                      (a)    Sellers will, as soon as practicable, file with the Bankruptcy Court
       the Sale Motion upon the parties required to be served by the Bankruptcy Code, the
       Bankruptcy Rules or the Bankruptcy Court, and shall seek consideration of the Sale
       Motion by the Bankruptcy Court. Purchaser acknowledges that the Acquired Assets may
       be subject to competitive bidding and that the Bidding Procedures may be supplemented
       by other customary procedures consistent with the terms of this Agreement, provided that
       the Bidding Procedures may not be amended, modified, or supplemented in any respect
       except as provided for in the Bidding Procedures.

                    (b)     Sellers will, as promptly as possible, but in all events in
       accordance with the Bidding Procedures, file and serve the Notice of Proposed Assumed
       Executory Contracts and the Final Sale Notice, together with the proposed Sale Order and
       a copy of the Transaction Documents (with any redactions Sellers and Purchaser



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      mutually deem appropriate in accordance with Bankruptcy Rule 9018 and the Bidding
      Procedures Order), upon the parties required to be served in accordance with the Bidding
      Procedures.

                      (c)     Sellers will, subject to the provisions of this Agreement and the
      Bidding Procedures Order, in consultation with Purchaser, use its reasonable best efforts
      to (x) respond to and resolve all timely objections to the entry of the Sale Order and
      (y) obtain entry of the Sale Order on or before September 24, 2018.

                      (d)     Purchaser will use its reasonable best efforts to assist in obtaining
      entry of the Sale Order, including furnishing or filing with the Bankruptcy Court such
      affidavits or declarations as Sellers may request for the purpose of obtaining entry of the
      Sale Order.

                      (e)     Purchaser shall not, without prior written consent of Sellers, file,
      join in, or otherwise support or encourage in any manner whatsoever any motion or other
      pleading relating to the sale of the Acquired Assets hereunder.

                     (f)    In the event that an appeal is taken or a stay pending appeal is
      requested with respect to the Sale Order, Sellers shall promptly notify Purchaser of such
      appeal or stay request and shall promptly provide to Purchaser a copy of the related
      notice(s) or order(s). Sellers and Purchaser shall use their reasonable best efforts to
      defend any such appeal or stay request.

      7.2    Stalking Horse Provisions.

                      (a)   In the event Sellers receive a bid, in accordance with the Bidding
      Procedures, to consummate an Alternative Transaction with a third-party bidder on terms
      that include a cash purchase price, payable at closing, of an amount at least $250,000
      greater than the sum of (x) the Cash Purchase Price plus (y) the Break Fee plus (z) the
      maximum amount of the Expense Reimbursement, and which terms are otherwise
      substantially the same as, or more favorable to Sellers than the terms set forth in this
      Agreement, Purchaser shall consent to the sale of the Acquired Assets to such third-party
      bidder.

                      (b)     In the event Sellers enter into an agreement to consummate or
      consummate an Alternative Transaction, Sellers shall pay Purchaser, in accordance with
      the Bidding Procedures and by wire transfer to an account designated by Purchaser on the
      closing date of such Alternative Transaction, (i) the Break Fee and (ii) the reimbursement
      of all reasonable costs and expenses of Purchaser incurred in connection with Purchaser’s
      efforts to negotiate and consummate the transactions contemplated by this Agreement
      (including, without limitation, the fees and expenses of counsel), but such reimbursement
      shall be capped at $75,000 (the “Expense Reimbursement”).

                    (c)    The Break Fee and Expense Reimbursement shall be paid from any
      proceeds of an Alternative Transaction, otherwise payable to Sellers, provided that if
      such amounts are not paid from such proceeds, Sellers shall remain liable for such
      amounts. Sellers shall have no liability with respect to Purchaser or any other person for



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      an amount exceeding the aggregate of the Break Fee plus the Expense Reimbursement in
      the event that this Agreement is terminated by Sellers pursuant to Section 4.6(h).

                     (d)     The Break Fee and Expense Reimbursement (to the extent due and
      owing) shall be first-priority administrative expenses of Sellers’ bankruptcy estate under
      sections 503(b) and 507(a)(2) of the Bankruptcy Code.

                     (e)     The obligation of Sellers to pay, and the payment by Sellers of, the
      Expense Reimbursement (to the extent due and owing), shall in no way limit or otherwise
      affect the rights of Purchaser to a return of the Deposit, including without limitation the
      rights of Purchaser under Section 3.4 of this Agreement.

                    (f)    Sellers acknowledge and agree that Purchaser would not have
      entered into this Agreement but for the provisions in this Section 7.2, and that the
      provisions of this Section 7.2 are integral to, and shall survive any termination of,
      this Agreement.

      7.3    Pre-Closing Operating Covenants of Sellers.

                      (a)     During the period from the date hereof until the earlier of Closing
      or the termination of this Agreement in accordance with Section 4.6, Section 4.7 and
      Section 4.8, except as expressly provided in this Agreement, or as required by Law,
      subject to the limitations of the Bankruptcy Code and the Bankruptcy Rules, without the
      prior written consent of Purchaser, Sellers will not:

                            (i)     sell or transfer or create any Encumbrance upon any of the
      Acquired Assets;

                            (ii)  fail to pay any fees or expenses by the due date therefor
      with respect to any of the Acquired Assets and necessary to maintain the existing status
      and condition of the same, absent Purchaser’s written authorization after good faith
      consideration;

                           (iii) reject, cancel, terminate, amend, modify, supplement or
      rescind any Assumed Executory Contract or any terms of any Assumed Executory
      Contract without the express written approval of Purchaser, which shall not be
      unreasonably withheld or delayed, except for the purpose of effecting any changes in
      applicable Law or implementing regulatory requirements;

                           (iv)   enter into any new Contract or renew any existing
      Contract requiring payments by Sellers;

                           (v)     conduct or fail to conduct any operation related to the
      Acquired Property outside the ordinary course of business;

                            (vi)    cease or limit operations at the Acquired Property;

                            (vii)   terminate any employees listed in Exhibit B;



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                            (viii) incur any long-term expenditure associated with the
      Acquired Assets that would be an Assumed Liability;

                               (ix)   transfer, sell, assign, abandon, permit to lapse or grant any
      rights or modify any existing rights to the Acquired Assets, or enter into any settlement
      regarding the breach or infringement, misappropriation, dilution or other violation of, or
      challenge the title to, any such Acquired Assets; or

                            (x)    institute, settle or agree to settle or modify in any manner
      that is adverse to the Acquired Assets, any litigation, action or other Legal Proceeding
      before any court or Governmental Body relating to the Acquired Assets and that is or will
      be an Assumed Liability.

                     (b)   Concurrent with Closing, Sellers will prepare and file with the
      appropriate Governmental Body appropriate documents, including, but not limited to,
      articles of amendment or changing Sellers’ names so as to effectuate the transfer of the
      Acquired Assets.

      7.4    Access to Information.

                      (a)    Sellers agree that, between the Execution Date and the earlier of
      the Closing Date and the date on which this Agreement is terminated in accordance with
      Section 4.6, Purchaser shall be entitled, through its officers, employees, counsel,
      accountants and other authorized representatives, agents and contractors
      (“Representatives”), to have such reasonable access to and make such reasonable
      investigation and examination of the books and records, Documents, properties,
      businesses, assets, accountants, auditors, counsel and operations of Sellers as Purchaser’s
      Representatives may reasonably request, provided, however, that Sellers shall not be
      obligated to provide information that they are not permitted to provide under applicable
      Law. Any such investigations and examinations shall be conducted during regular
      business hours upon reasonable advance notice and under reasonable circumstances,
      including Sellers’ right to have their Representatives accompany Purchaser and its
      Representatives at the time of any on-site inspection or examination and shall be subject
      to restrictions under applicable Law. Pursuant to this Section 7.4, Sellers shall furnish to
      Purchaser and its Representatives such financial, operating and property related data and
      other information as such Persons reasonably request. Sellers shall use commercially
      reasonable efforts to cause their Representatives to reasonably cooperate with Purchaser
      and Purchaser’s Representatives in connection with such investigations and
      examinations, and Purchaser shall, and use its commercially reasonably efforts to cause
      its Representatives to, reasonably cooperate with Sellers and their Representatives and
      shall use their reasonable efforts to minimize any disruption to the Business. Purchaser
      and its Representatives shall be permitted to contact, or engage in discussions or
      otherwise communicate with Sellers’ landlords, clients, suppliers and other Persons with
      which Sellers have material commercial dealings, provided, that Purchaser must obtain
      the prior consent of Sellers, which consent shall not be unreasonably withheld or delayed,
      to initiate such communications and give Sellers the opportunity to be present therefor.




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                      (b)     No information received pursuant to an investigation made under
       this Section 7.4 shall be deemed to (i) qualify, modify, amend or otherwise affect any
       representations, warranties, covenants or other agreements of Sellers set forth in this
       Agreement or any certificate or other instrument delivered to Purchaser in connection
       with the transactions contemplated hereby, (ii) limit or restrict the remedies available to
       the parties under applicable Law arising out of a breach of this Agreement or otherwise
       available at Law or in equity, or (iii) limit or restrict the ability of either party to invoke
       or rely on the conditions to the obligations of the parties to consummate the transactions
       contemplated by this Agreement set forth in Article VIII.

       7.5    Reasonable Efforts; Further Assurances of Each Party. During the period from
the date hereof until the earlier of Closing or the termination of the Agreement in accordance
with Section 4.6, Section 4.7 and this Section 4.8, in each case, subject to the limitations of
the Bankruptcy Code and Bankruptcy Rules:

                      (a)     each party will use commercially reasonable efforts to take all
       actions and to do all things necessary, proper or advisable in order to consummate and
       make effective the transactions contemplated by this Agreement (including satisfaction,
       but not waiver, of the closing conditions set forth in Article VIII; and

                     (b)    the parties will execute and deliver any documents, instruments or
       conveyances of any kind and take all other actions which may be reasonably necessary or
       advisable to carry out the intent of this Agreement and the transactions contemplated
       herein.

        7.6    Regulatory Affairs. Sellers shall, to the fullest extent permitted by applicable
Law, (i) promptly advise Purchaser of the receipt of any communication from any state or
foreign Governmental Body or other U.S. Governmental Body whether oral, written, electronic
or otherwise, (ii) provide Purchaser with a reasonable opportunity to participate in the
preparation of any response thereto and the preparation of any other substantive submission or
communication to any such Governmental Body and to review any such response, submission or
communication prior to the filing or delivery thereof, and (iii) provide Purchaser with the
opportunity to participate in any meetings or substantive telephone conversations that Sellers or
their Representatives may have from time to time with any such Governmental Body. At
Purchaser’s request, Sellers shall assist Purchaser in obtaining any meetings with, or facilitating
communications between, Purchaser and any state or foreign Governmental Body or other U.S.
Governmental Body.

                                         ARTICLE VIII.

                                 CONDITIONS TO CLOSING

         8.1    Conditions Precedent to the Obligations of Sellers and Purchaser. The respective
obligations of each party to this Agreement to consummate the transactions contemplated herein
are subject to the satisfaction or written waiver, on or prior to the Closing Date, of each of the
following conditions (any or all of which may be waived in writing by Sellers and Purchaser in
whole or in part to the extent permitted by applicable Law):



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                       (a)     there shall not be in effect any statute, rule, regulation, Law or
       Order enacted, issued, entered or promulgated by a Governmental Body of competent
       jurisdiction restraining, enjoining or otherwise prohibiting the consummation of the
       transactions contemplated hereby;

                       (b)   the Bankruptcy Court shall have entered the Bidding Procedures
       Order and such order shall be a Final Order and in form and substance reasonably
       satisfactory to Purchaser and shall be final and non-appealable, and shall not have been
       stayed, appealed, withdrawn or vacated;

                      (c)   the Bankruptcy Court shall have entered the Sale Order and such
       order shall be a Final Order and in form and substance reasonably satisfactory to
       Purchaser and shall be final and non-appealable, and shall not have been stayed,
       appealed, withdrawn or vacated; and

                    (d)    there shall not be any judgment, decree, injunction, order or ruling
       in effect preventing the consummation of the transactions contemplated by this
       Agreement.

        8.2    Conditions Precedent to the Obligations of Sellers. The obligations of Sellers to
consummate the transactions contemplated by this Agreement are subject to the satisfaction, on
or prior to the Closing Date, of each of the following conditions (any or all of which may be
waived in writing by Sellers in whole or in part to the extent permitted by applicable Law):

                       (a)    Covenants and Representations. Purchaser shall have performed in
       all material respects all agreements and covenants required hereby to be performed by
       Purchaser prior to or at the Closing Date, and the representations and warranties of
       Purchaser made in Article VI shall be correct and complete in all material respects as of
       the Closing Date as if made on such date;

                      (b)   Purchase Price. On or prior to the Closing Date, Purchaser shall
       have paid the Purchase Price; and

                      (c)     Deliveries. On or prior to the Closing Date, Purchaser shall have
       delivered to Sellers each of the items set forth in Section 4.2 of this Agreement.

        8.3     Conditions Precedent to the Obligations of Purchaser. The obligations of
Purchaser to consummate the transactions contemplated by this Agreement are subject to the
satisfaction, on or prior to the Closing Date, of each of the following conditions (any or all of
which may be waived in writing by Purchaser in whole or in part to the extent permitted by
applicable Law):

                        (a)     Covenants and Representations. Sellers shall have performed in all
       material respects all agreements and covenants required hereby to be performed by
       Sellers prior to or at the Closing Date, and the representations and warranties of Sellers in
       Article V shall be correct and complete in all material respects as of the Closing Date as
       if made on such date;




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                      (b)    Deliveries. On or prior to the Closing Date, Sellers shall have
       delivered to Purchaser each of the items set forth in Section 4.2 of this Agreement;

                       (c)   Taxes. On or prior to the Closing Date, Sellers shall have paid, or
       made arrangements to pay, all property Taxes on the Acquired Property due or assessed
       prior to the Closing Date, excluding any Transfer Taxes;

                      (d)    Consents. On or prior to the Closing Date, Sellers shall have
       received, in a form reasonably acceptable to Purchaser, all consents necessary to assign
       the Assumed Executory Contracts;

                     (e)   Employees. On or prior to the Closing Date, no fewer than (i) five
       (5) of the Key Employees and (ii) a majority of the Other Employees shall have accepted
       employment with Purchaser on terms and conditions satisfactory to Purchaser; and

                     (f)    Permits and Licenses. All of the Permits and licenses necessary
       for Purchaser to acquire the Acquired Assets, and assume the Assumed Liabilities, shall
       have been obtained, and all such consents, Permits and licenses shall be in full force and
       effect.

                                          ARTICLE IX.

                                      MISCELLANEOUS

         9.1    Transfer Taxes. Any sales, use, transfer, deed, fixed asset, stamp, documentary
stamp or other similar type Taxes and recording charges (each, a “Transfer Tax”) which may be
payable by reason of the acquisition of the Acquired Assets or the assumption of the Assumed
Liabilities under this Agreement or the transactions contemplated herein shall be timely paid by
Purchaser. Purchaser and Sellers shall cooperate to prepare and timely file any Tax Returns
required to be filed in connection with Transfer Taxes described in the immediately preceding
sentence.

        9.2    Releases. Effective as of and conditioned upon the occurrence of Closing,
Purchaser hereby releases and forever discharges Sellers and Sellers’ directors, officers,
employees, agents, representatives, successors, assigns, and holders of Claims or interests in
Sellers’ chapter 11 bankruptcy estate, from any and all actions, suits, debts, liens, sums of
money, accounts, judgments, claims and demands whatsoever, at law or in equity, either in
contract or in tort, whether known or unknown, on account of, arising out of or relating to
any act or omission of any kind or character whatsoever that relates to Sellers or this
Agreement and the proposed transactions contemplated herein occurring at or prior to the
Closing; provided that nothing in this Section 9.2 shall release or discharge any Claim of
Purchaser under this Agreement.

       9.3       Survival. Except as expressly provided for herein, none of the (a) covenants or
agreements    to be performed by either Sellers or Purchaser prior to the Closing pursuant to this
Agreement     and (b) representations and warranties by Sellers or Purchaser contained in this
Agreement     shall survive Closing, and neither Sellers nor Purchaser shall have liability to the
other party   after Closing for any breach of any such covenant, agreement, representation or



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warranty. Except as set forth in the immediately preceding sentence, the covenants and
agreements of the parties set forth in this Agreement will survive until fully performed or until
such performance is expressly waived in writing by Purchaser (in the case of covenants and
agreements of Sellers) or Sellers ((in the case of covenants and agreements of Purchaser).

        9.4    Injunctive Relief. Damages at Law may be an inadequate remedy for the breach
by Purchaser or Sellers of any of their covenants, promises and agreements contained in this
Agreement and, accordingly, each of Purchaser and Sellers shall be entitled to injunctive relief
with respect to any such breach, including specific performance of such covenants, promises or
agreements or an order enjoining a party from any threatened, or from the continuation of any
actual, breach of the covenants, promises or agreements contained in this Agreement. The rights
of Purchaser and Sellers set forth in this Section 9.4 shall be in addition to any other rights which
a party may have at Law or in equity pursuant to this Agreement.

        9.5      Entire Agreement; Amendments and Waivers. This Agreement (including the
Exhibits hereto and other documents specifically referred to herein) represents the entire
understanding and agreement between the parties hereto with respect to the subject matter hereof
and supersedes all prior agreements, understandings, negotiations and discussions, whether oral
or written, of the parties. Any provision of this Agreement may be amended or waived if such
amendment or waiver is in writing and signed, in the case of an amendment, by Purchaser and
Sellers, or in the case of a waiver, by the party against whom the waiver is effective. No failure
or delay by a party in exercising any right, power or privilege hereunder will operate as a waiver
thereof nor will any single or partial exercise thereof preclude any other or further exercise
thereof or the exercise of any other right, power or privilege. The rights and remedies provided
herein will be cumulative and, except as otherwise expressly provided herein, are not exclusive
of any rights or remedies provided by applicable Law.

       9.6    Counterparts; Electronic Signatures. For the convenience of the parties hereto,
this Agreement may be executed in any number of counterparts, each such counterpart being
deemed to be an original instrument, and all such counterparts shall together constitute the same
agreement. Facsimile signatures or signatures delivered by email in PDF or similar format will
be deemed original signatures for purposes of this Agreement.

        9.7      Governing Law.     This Agreement will be governed by and construed in
accordance with the Laws of the State of Oregon without regard to principles of conflicts of
Law. The parties hereby submit to the exclusive jurisdiction of the United States Bankruptcy
Court for the District of Oregon (the “Bankruptcy Court”) and any U.S. federal appellate court
therefrom (or, if the United States Bankruptcy Court for the District of Oregon declines to or
may not accept authority or jurisdiction over a particular matter, the United States District Court
for the District of Oregon; or if the United States District Court for the District of Oregon
declines to or may not accept jurisdiction over a particular matter, any state court within
Multnomah County of the State of Oregon) for any actions, suits or proceedings arising out of or
relating to this Agreement or the transactions contemplated herein (and each party agrees not to
commence any action, suit or proceeding relating thereto except in such courts), and each party
further agrees that service of any process, summons, notice or document by U.S. registered mail
to its respective address set forth in Section 9.9 shall be effective service of process for any
action, suit or proceeding brought against it in any such court.



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     9.8  Waiver of Jury Trial. EACH OF THE PARTIES HERETO HEREBY
IRREVOCABLY WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY LEGAL
PROCEEDING ARISING OUT OF OR RELATED TO THIS AGREEMENT OR THE
TRANSACTIONS CONTEMPLATED HEREBY.

        9.9     Notices. Unless otherwise set forth herein, any notice, request, instruction or
other document to be given hereunder by any party to the other parties shall be in writing and
shall be deemed duly given (i) upon delivery, when delivered personally, (ii) one (1) day after
being sent by overnight courier or when sent by facsimile transmission or email PDF format
(with a confirming copy sent by overnight courier), and (iii) three (3) calendar days after being
sent by registered or certified mail, postage prepaid, as follows:

       If to Sellers, to:

               Sunshine Dairy Foods Management, LLC
               c/o Boverman and Associates, LLC
               11285 SW Walker Rd.
               Portland, OR 97225
               Attention: Dan Boverman
               Email: danboverman@boverman.biz

               And

               Karamanos Holdings, Inc
               c/o Boverman and Associates, LLC
               11285 SW Walker Rd.
               Portland, OR 97225
               Attention: Dan Boverman
               Email: danboverman@boverman.biz


With copies to:

               Motschenbacher & Blattner LLP
               117 SW Taylor Street, Suite 300
               Portland, OR 97204
               Attention: Nicholas J. Henderson
               Email: nhnderson@portlaw.com

               Vanden Bos & Chapman, LLP
               319 SW Washington, Suite 520
               Portland, OR 97204
               Attention: Douglas R. Ricks
               Email: doug@vbcattorneys.com

               Norman Davidson, III
               Attorney at Law



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               630 West Duarte Road, #208
               Arcadia, California 91007
               Attention: Norman Davidson III
               Email: nick@normandavidsonlaw.com




       If to Purchaser, to:

               Lyrical Foods, Inc.
               3180 Corporate Place
               Hayward, CA 94545
               Attn: Chief Executive Office
               Email: rob@kite-hill.com


With copies to:

               Wilmer Cutler Pickering Hale and Dorr LLP
               950 Page Mill Road
               Palo Alto, CA 94304
               Attention: Eric Hanson
               Email: eric.hanson@wilmerhale.com

               and
               Wilmer Cutler Pickering Hale and Dorr LLP
               7 World Trade Center
               New York, New York 10007
               Attention: George Shuster and Benjamin Loveland
               Email: george.shuster@wilmerhale.com

or to such other Persons or addresses as may be designated in writing by the party to receive
such notice.

         9.10 Binding Effect; Assignment. This Agreement will be binding upon and inure to
the benefit of the parties and their respective successors and permitted assigns. Nothing in this
Agreement will create or be deemed to create any Third Party beneficiary rights in any Person or
entity not a party to this Agreement. None of the parties may assign or delegate its rights or
obligations under this Agreement (whether by operation of Law, change of control, or
otherwise), either in whole or in part, without the prior written consent of the other party,
provided, however, that Purchaser may assign, delegate or transfer any of its rights or obligations
under this Agreement to any wholly-owned direct or indirect Subsidiary of Purchaser by sending
written notice to, but without the consent of, Sellers; provided, further, that such assignment,
delegation or transfer shall not relieve Purchaser of any liability or obligation under this




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Agreement. Any attempted assignment, delegation or transfer in violation of this Section 9.10
shall be void and without effect.

        9.11 Third Party Beneficiaries. No Person other than the parties hereto (and any
permitted assignee under Section 9.10) shall have any rights or claims under this Agreement.

      9.12 Publicity. Except as required by law or the Bankruptcy Court, neither Sellers nor
Purchaser will issue any press release or make any public statement regarding the transactions
contemplated hereby, without the prior written consent of the other party.

        9.13 Severability. If any provision of this Agreement is determined to be invalid or
unenforceable, the validity or enforceability of the other provisions of this Agreement as a whole
will not be affected; and, in such event, Sellers and Purchaser shall negotiate in good faith to
change and interpret such provision so as to best accomplish the objectives of such provision
within the limits of applicable Law or applicable court decision.

         9.14 Time of the Essence. Time is of the essence in the performance of each of the
obligations of the parties and with respect to all covenants and conditions to be satisfied by the
parties in this Agreement and all documents, acknowledgments and instruments delivered in
connection herewith.

          9.15 Obligations of Parties. If more than one person or entity is named as a Seller,
the term “Sellers” shall refer to each person or entity so named and any one or more of them
in any combination, and the representations, warranties, covenants, obligations and
liabilities of Sellers herein shall constitute their joint and several representations, warranties,
covenants, obligations and liabilities, except as otherwise specifically provided herein.

       9.16    Miscellaneous.

                       (a)   Certain Interpretations. Unless otherwise expressly provided, for
       purposes of this Agreement, the following rules of interpretation shall apply:

                             (i)   All references in this Agreement to Articles, Sections,
       Schedules and Exhibits shall be deemed to refer to Articles, Sections, Schedules and
       Exhibits to this Agreement.

                               (ii)    All Exhibits and Schedules annexed hereto or referred to
       herein are hereby incorporated in and made a part of this Agreement as if set forth in full
       herein. Any capitalized terms used in any Schedule or Exhibit but not otherwise defined
       therein shall be defined as set forth in this Agreement.

                             (iii)   The Article, Section and paragraph captions herein are for
       convenience of reference only, do not constitute part of this Agreement and shall not be
       deemed to limit or otherwise affect any of the provisions hereof.

                              (iv)   The words “include,” “includes” and “including,” when
       used herein, shall be deemed in each case to be followed by the words “without
       limitation” (regardless of whether such words or similar words actually appear).



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                               (v)    When calculating the period of time before which, within
      which or following which any act is to be done or step taken pursuant to this Agreement,
      the date that is the reference date in calculating such period shall be excluded.

                           (vi)     Any reference in this Agreement to $ shall mean United
      States Dollars.

                          (vii) Any reference in this Agreement to gender shall include all
      genders, and words imparting the singular number only shall include the plural and vice
      versa.

                            (viii) The words such as “herein,” “hereinafter,” “hereof,” and
      “hereunder” refer to this Agreement as a whole and not merely to a subdivision in which
      such words appear unless the context otherwise requires.

                     (b)    The parties hereto agree that they have been represented by legal
      counsel during the negotiation and execution of this Agreement and, therefore, waive the
      application of any Law, regulation, holding or rule of construction providing that
      ambiguities in an agreement or other document shall be construed against the party
      drafting such agreement or document.

                     (c)    This Agreement is the result of the joint efforts of the parties
      hereto, and each provision hereof has been subject to the mutual consultation,
      negotiation, and agreement of the parties and there is to be no construction against any
      party based on any presumption of that party’s involvement in the drafting thereof.

                     (d)    Purchaser acknowledges hereby that Sellers may not comply with
      the provisions of any bulk transfer laws of any jurisdiction in connection with the
      transactions contemplated by this Agreement.

                                  [Signature Pages Follow]




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DocuSign Envelope ID: 98BD549C-CDAC-4ADF-89E0-874A7C25E0BD




                   IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
            executed by their respective duly authorized officers as of the date first above written.


                                                             PURCHASER:


                                                             LYRICAL FOODS, INC.


                                                             By:
                                                                   Name: Rob Leibowitz
                                                                   Title: CEO




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                                         EXHIBIT A

                                       Acquired Assets

   All assets at or relating to the operation of the Business, including, but not limited to:

Item #                          Description                                    Location

   1       Acquired Property (fee simple real property interest)       8440 NE Halsey Street,
                                                                        Portland, OR 97220

   2            Active Inventories (Not excess or obsolete)              Acquired Property

   3                           Office Supplies                           Acquired Property

   4                    Equipment (as listed below)                      Acquired Property

   5                       Furniture and Fixtures                        Acquired Property

   6                        Documents and Data                           Acquired Property

   7                              Cabinetry                              Acquired Property

   8                Chemicals and Production Supplies                    Acquired Property

   9                               Signage                               Acquired Property

  10               All Intellectual Property of the Sellers                      N/A



                                          Equipment

  Item #                          Description                                  Location

       1                             Boiler                               Acquired Property

       2                        Air Compressor                            Acquired Property

       3                        Air Compressor                            Acquired Property

       4                  Ammonia Room Equipment                          Acquired Property

       5                     (4) Tank Mix System                          Acquired Property

       6                     (3) Tank Mix System                          Acquired Property

       7             Osgood Filler (Some Repair Needed)                   Acquired Property




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    8             Osgood Filler (Some Repair Needed)               Acquired Property

    9                       Metal Detector                         Acquired Property

    10                      Domino Coder                           Acquired Property

    11                      Domino Coder                           Acquired Property

    12                      Cup Conveyor                           Acquired Property

    13                    A&F Case Packer                          Acquired Property

    14                    A&F Case Packer                          Acquired Property

    15                        Pallet Jack                          Acquired Property

    16                        Pallet Jack                          Acquired Property

    17                          Combi                              Acquired Property

    18                       Case Erector                          Acquired Property

    19                      Platform Scale                         Acquired Property



    20                        CIP System                           Acquired Property

    21     Metal Detector, Domino Coders, Conveyor On line 1       Acquired Property

    22                         Liquifier                           Acquired Property

    23                     5000 Gallon Tank                        Acquired Property

    24                     5000 Gallon Tank                        Acquired Property

    25                      CIP Rinse Tank                         Acquired Property

    26                   APV Heat Exchanger                        Acquired Property

    27                        COP Tank                             Acquired Property

    28                     1500 Gallon Tank                        Acquired Property

    29                     1500 Gallon Tank                        Acquired Property

    30                     2000 Gallon Tank                        Acquired Property




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    31                    2000 Gallon Tank                          Acquired Property

    32                    2000 Gallon Tank                          Acquired Property

    33                       Pallet Jack                            Acquired Property

    34                        Lift Truck                            Acquired Property

    35                    3000 Gallon Tank                          Acquired Property

    36                      Homogenizer                             Acquired Property

    37                          HTST                                Acquired Property

    38               Pumps and. Valves for Tanks                    Acquired Property

    39                          Chiller                             Acquired Property

    40                      Glycol System                           Acquired Property

    41                       Scissors Lift                          Acquired Property

    42                        Lift Truck                            Acquired Property

    43                        20000 Silo                            Acquired Property

    44                        20000 Silo                            Acquired Property

    45                   10000 Gallon Tank                          Acquired Property

    46           Piping, Hose, Magnet, Heat Exchanger               Acquired Property

    47                      Machine Shop                            Acquired Property

    48                      Murzan Pump                             Acquired Property

    49                      Murzan Pump                             Acquired Property

    50                      Domino Coder                            Acquired Property

    51                      Domino Coder                            Acquired Property

    52                      Pick up items                           Acquired Property

    53                        Lift Truck                            Acquired Property

    54                    2100 Gallon Tank:                         Acquired Property




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    55                   2100 Gallon Tank                      Acquired Property

    56                  Square Storage Tank                    Acquired Property

    57                   1500 Gallon Tank                      Acquired Property

    58                       Separator                         Acquired Property

    59                     Murzan Pump                         Acquired Property

    60                     Murzan Pump                         Acquired Property

    61                         DAF                             Acquired Property




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                                         EXHIBIT B

                                 Assumed Executory Contracts

   Name of Contracting Party                         Title                     Date Entered Into

   Gerber Products Company                    Supply Agreement                December 1, 2009

       Ripple Foods, Inc.                   Co-Packing Agreement              September 15, 2017,
                                                                                  as amended

           Local No. 305                  Plant and Drive Agreement             March 1, 2014
  (Teamsters, Dairy, Bakery &
  Food Processors, Industrial,
  Technical & Automotive)
           Local No. 305                      Labor Agreement                 September 1, 2016
  (Teamsters, Dairy, Bakery &
  Food Processors, Industrial,
  Technical & Automotive)




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                                          EXHIBIT C

                                      Assumed Liabilities

The term “Assumed Liabilities” means, collectively, all of the following:

       1. The obligations of Sellers arising after the Closing Date under any Assumed
       Executory Contract (listed on Exhibit B to this Agreement).

       2. Obligations with respect to the Acquired Assets to the extent that such obligations
       accrue and are required to be performed from and after the Closing Date.

       3. The Permitted Encumbrances.




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                                         EXHIBITD

                                         Employees

Schedule 1 - Key Employees

                                                               Department

                                General Manager                Management

                                Plant Manager                  Management

                                Plant Manager                  Management

                                QA Manager                     Management

                                Supervisor                     Management

                                Controller                     Management

                                Admin                          Management



Schedule 2 - Other Employees

--
Name                         Title                               Department

                             Caser Operator (Yogmt EP Prod)       Production

                             Mix Operator (Yogmt EP Prod)         Production

                             Mix Operator (Yogmt EP Prod)         Production

                             Filler Operator (Yogmt EP Prod)      Production

                             Production Lead                     Production

                             Pasteurizer (Yogmt EP Prod)         Production

                             Caser Operator (Yogmt EP Prod)      Production

                             Warehouse (Yogmt EP Prod)            Production

                             Caser Operator (Yogmt EP Prod)      Production

                             Pasteurizer (Yogmt EP Prod)         Production




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T    J                  Sanitation Technician                Production

C        B          H   Utility Worker (Milk WP Prod)        Production

E           C           Dispenser Filler Operator (Milk      Production
                        WP Prod)

J   S                   Filler Operator (Milk WP Prod)       Production

K            K          Pasteurizer (Milk WP Prod)           Production

L   L                   Filler Operator (Milk WP Prod)       Production

M            V          Filler Operator (Milk WP Prod)       Production

W        P              Filler Operator (Ice Cream)          Production

C                   D   Day Shift Cooler (Milk Storage)      Production

D    P                  Day Whse Supervisor (Milk            Production
                        Storage)

E           J           Day Shift Cooler (Milk Storage)      Production

F    W                  Day Shift Cooler (Milk Storage)      Production

J       P               Night Shift Cooler (Milk Storage)    Production

T       C               Production Supervisor (Yogurt EP     Production
                        Prod)

D   P                   Maintenance Mechanic Forman          Maintenance
                        (Maintenance WP

M            P          Maintenance Mechanic Forman          Maintenance
                        (Maintenance WP

T   Y                   Maintenance Mechanic Forman          Maintenance
                        (Maintenance WP

C    B                  Driver (DC)                          Transportation

C                   C   Driver (DC)                          Transportation

T               B       Driver (DC)                          Transportation

J   W                   DC Supervisor (DC)                   Transportation




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K       S               Technician (East QA)               Quality Assurance

B       P               Technician (West QA)               Quality Assurance

D       A               Technician (West QA)               Quality Assurance

J   B                   QA Compliance Officer (West        Quality Assurance
                        QA)

D       C               Sanitation Manager                 Sanitation

M       B               Forklift Operator (Warehouse)      Warehouse




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                                          EXHIBIT E

                                      Form of Bill of Sale

       THIS BILL OF SALE dated as of ___________, by and among LYRICAL FOODS,
INC., a Delaware corporation (“Purchaser”), SUNSHINE DAIRY FOODS MANAGEMENT,
LLC, an Oregon limited liability company, and KARAMANOS HOLDINGS, INC., an Oregon
corporation (each a “Seller”, collectively the “Sellers”).

        WHEREAS, the parties hereto have entered into an Asset Purchase Agreement dated as
of [_____________], 2018 (the “Purchase Agreement”) providing for the acquisition by
Purchaser of certain assets of Sellers, and the parties now desire to carry out such transaction by
Sellers’ execution and delivery to Purchaser of this instrument evidencing the vesting in
Purchaser of all of the assets and rights of Sellers hereinafter described. Capitalized terms used
but not defined herein have the meanings given them in the Purchase Agreement.

        NOW, THEREFORE, in consideration of the premises and of other valuable
consideration to Sellers in hand paid pursuant to the Purchase Agreement, at or before the
execution and delivery hereof, the receipt and sufficiency of which by Sellers are hereby
acknowledged, Sellers hereby convey, grant, sell, transfer, set over, assign, remise, release and
deliver unto Purchaser, its successors and assigns forever, effective as of 12:01 a.m. Pacific Time
on the date hereof (the “Effective Time”), all of Sellers right, title and interest in and to the
Acquired Assets, free and clear of any Encumbrances, without representation or warranty,
express or implied.

      PURCHASER HEREBY ACKNOWLEDGES AND AGREES THAT SELLERS MAKE
NO REPRESENTATIONS OR WARRANTIES WHATSOEVER, EXPRESS OR IMPLIED,
WITH RESPECT TO ANY MATTER RELATING TO THE ACQUIRED ASSETS OTHER
THAN AS SET FORTH IN THE PURCHASE AGREEMENT. WITHOUT IN ANY WAY
LIMITING THE FOREGOING, SELLERS HEREBY DISCLAIM ANY WARRANTY,
EXPRESS OR IMPLIED, OF MERCHANTABILITY OR FITNESS FOR ANY PARTICULAR
PURPOSE AS TO ANY PORTION OF THE ACQUIRED ASSETS. PURCHASER FURTHER
ACKNOWLEDGES THAT PURCHASER HAS CONDUCTED AN INDEPENDENT
INSPECTION AND INVESTIGATION OF THE PHYSICAL CONDITION OF THE
ACQUIRED ASSETS AND ALL SUCH OTHER MATTERS RELATING TO OR
AFFECTING THE ACQUIRED ASSETS AS PURCHASER DEEMED NECESSARY OR
APPROPRIATE AND THAT, IN PROCEEDING WITH ITS ACQUISITION OF THE
ACQUIRED ASSETS, PURCHASER IS DOING SO BASED SOLELY UPON SUCH
INDEPENDENT INSPECTIONS AND INVESTIGATIONS. ACCORDINGLY, PURCHASER
WILL ACCEPT THE ACQUIRED ASSETS AT THE CLOSING “AS IS,” “WHERE IS,” AND
“WITH ALL FAULTS.”

        Sellers hereby covenant that, from time to time after the delivery of this instrument, at
Purchaser’s request and without further consideration, Sellers will do, execute, acknowledge, and
deliver, or will cause to be done, executed, acknowledged and delivered, all and every such




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                  Case 18-31644-pcm11            Doc 468     Filed 09/19/18
further acts, deeds, conveyances, transfers, assignments, powers of attorney and assurances as
reasonably may be required, and in form and substance reasonably acceptable to Purchaser, to
effectively convey, transfer to and vest in Purchaser, and to put Purchaser in possession of, any
of the Acquired Assets.

        Nothing in this instrument, express or implied, is intended or shall be construed to confer
upon, or give to, any person, firm or corporation other than Purchaser and its successors and
assigns, any remedy or claim under or by reason of this instrument or any terms, covenants or
condition hereof, and all of the terms, covenants and conditions, promises and agreements in this
instrument contained shall be for the sole and exclusive benefit of Purchaser and its successors
and assigns.

       This instrument is executed by, and shall be binding upon, Sellers and their successors
and assigns for the uses and purposes above set forth and referred to, effective as of the Effective
Time.

        This instrument shall be governed by, interpreted under, and construed and enforceable in
accordance with, the laws of the State of Oregon, without regard to its conflict of law principle
provisions.

      To the extent this Bill of Sale is inconsistent with any terms or conditions of the Purchase
Agreement, the terms and conditions of the Purchase Agreement shall control.

       This instrument may be executed in counterpart signature pages, all of which when so
executed and attached hereto shall constitute one and the same original.

                                    [Signature pages follow.]




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         IN WITNESS WHEREOF, the parties hereto have executed this Bill of Sale or caused
this Bill of Sale to be executed on their behalf by a duly authorized officer as of the date first set
forth above.


                                               SELLERS:


                                               SUNSHINE DAIRY FOODS MANAGEMENT,
                                               LLC.


                                               By:
                                                     Name:    Daniel J. Boverman
                                                     Title:   Chief Restructuring Officer




                                               KARAMANOS HOLDINGS, INC.


                                               By:
                                                     Name:    Daniel J. Boverman
                                                     Title:   Chief Restructuring Officer




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                  Case 18-31644-pcm11                Doc 468    Filed 09/19/18
         IN WITNESS WHEREOF, the parties hereto have executed this Bill of Sale or caused
this Bill of Sale to be executed on their behalf by a duly authorized officer as of the date first set
forth above.




                                               PURCHASER:


                                               LYRICAL FOODS, INC.


                                               By:
                                                     Name: Rob Leibowitz
                                                     Title: CEO




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                                           EXHIBIT F

                      Form of Assignment and Assumption Agreement

        This ASSIGNMENT AND ASSUMPTION AGREEMENT (the “Agreement”) is entered
into as of _____________, by and among SUNSHINE DAIRY FOODS MANAGEMENT, LLC,
an Oregon limited liability company, KARAMANOS HOLDINGS, INC., an Oregon corporation
(each an “Assignor”, and collectively “Assignors”), and LYRICAL FOODS, INC., a Delaware
corporation (“Assignee”).

                                       W I T N E S E T H:

       WHEREAS, Assignors and Assignee entered into that certain Asset Purchase Agreement
dated as of [___________], 2018 (the “Purchase Agreement”; capitalized terms used but not
otherwise defined herein have the meanings given them in the Purchase Agreement); and

        WHEREAS, pursuant to the Purchase Agreement, Assignors have agreed to assign
certain rights and agreements to Assignee, and Assignee has agreed to assume certain obligations
of Assignors, as set forth therein and herein.

       NOW, THEREFORE, in consideration of the premises, the mutual covenants set forth
herein and other good and valuable consideration, the receipt and sufficiency of which are
hereby acknowledged, the parties hereto mutually covenant and agree as follows:

        1.      Effective as of 12:01 a.m. Pacific Time on the date hereof, Assignors hereby sell,
transfer and assign (collectively the “Assignment”) to the Assignee, and Assignee hereby
assumes and agrees to pay, perform and discharge, each and all of the Assumed Liabilities, as
that term is defined in the Purchase Agreement.

        2.     This Agreement shall be binding upon and inure to the benefit of the parties
hereto and their respective successors and permitted assigns.

        3.     This Agreement shall be governed by, interpreted under, and construed and
enforceable in accordance with, the laws of the State of Oregon, without regard to its conflict of
law principle provisions and rules.

      4.     To the extent this Agreement is inconsistent with any terms or conditions in the
Purchase Agreement, the Purchase Agreement shall control.

      5.     This Agreement may be executed in counterpart signature pages, all of which
when so executed and attached hereto shall constitute one and the same original.

                                    [Signature pages follow.]




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      IN WITNESS WHEREOF, the parties hereto have executed this Assignment and
Assumption Agreement as of the date first set forth above.


                                    ASSIGNORS:


                                    SUNSHINE DAIRY FOOD MANAGEMENT,
                                    LLC


                                    By:
                                          Name:    Daniel J. Boverman
                                          Title:   Chief Restructuring Officer




                                    KARAMANOS HOLDINGS, INC.


                                    By:
                                          Name:    Daniel J. Boverman
                                          Title:   Chief Restructuring Officer




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      IN WITNESS WHEREOF, the parties hereto have executed this Assignment and
Assumption Agreement as of the date first set forth above.


                                    ASSIGNEE:


                                    LYRICAL FOODS, INC.


                                    By:
                                          Name: Rob Leibowitz
                                          Title: CEO




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                                                                                                                 Assumed Executory Contracts




                                                NO.        Name of Contracting Party                                         Title                           Date Entered Into   Cure Amounts
                                                 1 ADS Group                                  Lease assigned from Balboa Capital Corporation -UCC                                    $0.00
                                                    PO Box 15270                              #91069271; Balboa Acct No. 214006-005 - Lease of 4 Trailers;
                                                    Irvine, CA 92623                          Quarterly Payments of $8785.35
                                                                                              5 Qtrly Payments
                                                 7   Elm Services                             Lease assigned from Balboa Capital Corporation - UCC                                $19,985.90
                                                     PO Box 15270                             #90451311; Balboa Acct No. 214006-001 - Lease of East Plant
                                                     Irvine, CA 92623                         Filler; 2 Quarterly payments of $8,223/Qtr 2 Qtrly Payments




                      EXHIBIT B - PAGE 1 OF 1
                                                 8   Elm Services                             Lease assigned from Balboa Capital Corporation - UCC                                $25,057.97
                                                     PO Box 15270                             #90548548; Balboa Acct No. 214006-002 -Lease of A&E Case
                                                     Irvine, CA 92623                         Erector + Taper; Quarterly payments of$11,122.03 - 7 Qtrly
                                                                                              Payments
                                                 9   Gerber Products Company                                        Supply Agreement                         December 1, 2009




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                                                11   Local No. 305 (Teamsters, Dairy,                          Plant and Drive Agreement                       March 1, 2014        $0.00
                                                     Bakekry & Food Processors, Industrial,
                                                     Technical & Automotive)




Doc 468
                                                12   Local No. 305 (Teamsters, Dairy,                               Labor Agreement                          September 1, 2016      $0.00
                                                     Bakekry & Food Processors, Industrial,
                                                     Technical & Automotive)


                                                22   Ripple Foods, Inc.                                          Co-Packing Agreement                          September 15,




Filed 09/19/18
                                                                                                                                                             2017, as amended

                                                23   Strada Capital Corporation               Equipment Agreement                                                                 $10,150.20
                                                     23046 Avenida De La Carlota #350
                                                     Laguna Hills, CA 92653
                                                24   Summit Funding Group, Inc.               Lease of MilkoScan Mars system - UCC 90718706; Monthly                               $670.63
                                                     Lease Administration Group               payments of $737.69 - Expires 6/1/2021
                                                     PO Box 63-6488
                                                     Cincinnati, OH 45263
                                                26   TCF Equipment Finance                    Equipment Lease No. 214006-006 Leased Equipment: Combi                               $8,308.31
                                                     11100 Wayzata Blvd #801                  America case sealer model TBS100FC, S/N TB181185 and a
                                                     Hopkins, MN 55305                        Lantech case erector, Model 300, S/N CE000402
                                                                                                                                                                                                9/16/2018
                                                                                                                                                                                                  8:11 PM
In re Sunshine Dairy Foods Management, LLC;
Bankruptcy Case No. 18-31644-pcm11 (Lead Case);
In re Karamanos Holdings, Inc.;
Bankruptcy Case No. 18-31646-pcm11
Service List

Sunshine Dairy Foods         Valley Falls Farm, LLC                     Sorrento Lactalis, Inc.
  Management, LLC            c/o Bryan P. Coluccio, V.P. and            c/o Phillips Lytle LLP
Attn: Norman Davidson, III   General Counsel Keystone-Pacific, LLC      Attn: Angela Z. Miller
801 NE 21st Ave.             18555 SW Teton Avenue                      125 Main Street
Portland, OR 97232           Tualatin, OR 97062                         Buffalo, NY 14203
                             (Un. Sec. Cred. Comm. Chairperson)
Karamanos Holdings, Inc.
Attn: Norman Davidson, III   Scott Laboratories Inc.
801 NE 21st Ave.             Attn: Jill Skoff, Accting Assistant
Portland, OR 97232           PO Box 4559
                             Petaluma, CA 94955




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